Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 1 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 2 of 129




              ICSID CONVENTION,
                 REGULATIONS
                  AND RULES




                         International Centre for
                   Settlement of Investment Disputes
                            1818 H Street, N.W.
                     Washington, D.C. 20433, U.S.A.
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 3 of 129




                              ICSID/15
                             April 2006
                           . Not for resale .
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 4 of 129
                                  Summary Table of Contents

                                                                                                                Page

         Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     5


         Convention on the Settlement of Investment Disputes between
         States and Nationals of Other States . . . . . . . . . . . . . . . . . . . . . . . . .                   7


         Report of the Executive Directors of the International Bank for
         Reconstruction and Development on the Convention on the
         Settlement of Investment Disputes between States and Nationals
         of Other States . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     35


         Administrative and Financial Regulations . . . . . . . . . . . . . . . . . . . .                        51


         Rules of Procedure for the Institution of Conciliation and
         Arbitration Proceedings (Institution Rules) . . . . . . . . . . . . . . . . . .                         73


         Rules of Procedure for Conciliation Proceedings
         (Conciliation Rules) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        81


         Rules of Procedure for Arbitration Proceedings
         (Arbitration Rules) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       99




                                                                                                                  3
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 5 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 6 of 129
                                     Introduction
              The International Centre for Settlement of Investment Disputes
         (ICSID or the Centre) is established by the Convention on the Settle-
         ment of Investment Disputes between States and Nationals of Other
         States (the ICSID Convention or the Convention). The Convention was
         formulated by the Executive Directors of the International Bank for
         Reconstruction and Development (the World Bank). On March 18,
         1965, the Executive Directors submitted the Convention, with an
         accompanying Report, to member governments of the World Bank for
         their consideration of the Convention with a view to its signature and
         ratification. The Convention entered into force on October 14, 1966,
         when it had been ratified by 20 countries. As at April 10, 2006, 143
         countries have ratified the Convention to become Contracting States.
              In accordance with the provisions of the Convention, ICSID pro-
         vides facilities for conciliation and arbitration of investment disputes
         between Contracting States and nationals of other Contracting States.
         The provisions of the ICSID Convention are complemented by Regula-
         tions and Rules adopted by the Administrative Council of the Centre
         pursuant to Article 6(1)(a)–(c) of the Convention (the ICSID Regula-
         tions and Rules).
              The ICSID Regulations and Rules comprise Administrative and
         Financial Regulations; Rules of Procedure for the Institution of Concilia-
         tion and Arbitration Proceedings (Institution Rules); Rules of Procedure
         for Conciliation Proceedings (Conciliation Rules); and Rules of Proce-
         dure for Arbitration Proceedings (Arbitration Rules). The latest amend-
         ments of the ICSID Regulations and Rules adopted by the Administrative
         Council of the Centre came into effect on April 10, 2006.
              Reprinted in this booklet are the ICSID Convention, the Report of
         the Executive Directors of the World Bank on the Convention, and the
         ICSID Regulations and Rules as amended effective April 10, 2006.




                                                                                 5
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 7 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 8 of 129




                                                                Convention
                 CONVENTION ON THE
             SETTLEMENT OF INVESTMENT
            DISPUTES BETWEEN STATES AND
             NATIONALS OF OTHER STATES




                                                           7
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 9 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 10 of 129

                    CONVENTION ON THE SETTLEMENT OF
                   INVESTMENT DISPUTES BETWEEN STATES
                     AND NATIONALS OF OTHER STATES




                                                                                      Convention
                                   Table of Contents
         Chapter      Section                                       Articles   Page

                                Preamble                                        11

         I                      International Centre for
                                Settlement of Investment Disputes   1-24        12
                      1         Establishment and Organization      1-3         12
                      2         The Administrative Council          4-8         12
                      3         The Secretariat                     9-11        14
                      4         The Panels                          12-16       15
                      5         Financing the Centre                17          16
                      6         Status, Immunities and Privileges   18-24       16

         II                     Jurisdiction of the Centre          25-27       18

         III                    Conciliation                        28-35       19
                      1         Request for Conciliation            28          19
                      2         Constitution of the Conciliation
                                Commission                          29-31       20
                      3         Conciliation Proceedings            32-35       20

         IV                     Arbitration                         36-55       22
                      1         Request for Arbitration             36          22
                      2         Constitution of the Tribunal        37-40       22
                      3         Powers and Functions of
                                the Tribunal                        41-47       23
                      4         The Award                           48-49       25
                      5         Interpretation, Revision and
                                Annulment of the Award              50-52       25
                      6         Recognition and Enforcement
                                of the Award                        53-55       27

         V                      Replacement and Disqualification
                                of Conciliators and Arbitrators     56-58       28

         VI                     Cost of Proceedings                 59-61       29

         VII                    Place of Proceedings                62-63       30

                                                                                  9
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 11 of 129
                VIII    Disputes Between Contracting
                        States                         64      30

                IX      Amendment                      65-66   30

                X       Final Provisions               67-75   31
   Convention




                        Signature Clause                       33




                10
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 12 of 129

                          CONVENTION ON THE
                   SETTLEMENT OF INVESTMENT DISPUTES
                     BETWEEN STATES AND NATIONALS
                            OF OTHER STATES




                                                                                       Convention
                                       Preamble
         The Contracting States

              Considering the need for international cooperation for economic
         development, and the role of private international investment therein;
              Bearing in mind the possibility that from time to time disputes
         may arise in connection with such investment between Contracting
         States and nationals of other Contracting States;
              Recognizing that while such disputes would usually be subject to
         national legal processes, international methods of settlement may be
         appropriate in certain cases;
              Attaching particular importance to the availability of facilities for
         international conciliation or arbitration to which Contracting States
         and nationals of other Contracting States may submit such disputes if
         they so desire;
              Desiring to establish such facilities under the auspices of the Inter-
         national Bank for Reconstruction and Development;
              Recognizing that mutual consent by the parties to submit such dis-
         putes to conciliation or to arbitration through such facilities constitutes
         a binding agreement which requires in particular that due considera-
         tion be given to any recommendation of conciliators, and that any arbi-
         tral award be complied with; and
              Declaring that no Contracting State shall by the mere fact of its rat-
         ification, acceptance or approval of this Convention and without its
         consent be deemed to be under any obligation to submit any particular
         dispute to conciliation or arbitration,
              Have agreed as follows:




                                                                                 11
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 13 of 129
                                         Chapter I
                                  International Centre for
                            Settlement of Investment Disputes
                                           Section 1
   Convention




                                 Establishment and Organization

                Article 1

                     (1) There is hereby established the International Centre for Settle-
                ment of Investment Disputes (hereinafter called the Centre).
                     (2) The purpose of the Centre shall be to provide facilities for con-
                ciliation and arbitration of investment disputes between Contracting
                States and nationals of other Contracting States in accordance with the
                provisions of this Convention.

                Article 2

                    The seat of the Centre shall be at the principal office of the Inter-
                national Bank for Reconstruction and Development (hereinafter called
                the Bank). The seat may be moved to another place by decision of the
                Administrative Council adopted by a majority of two-thirds of its
                members.

                Article 3

                    The Centre shall have an Administrative Council and a Secretariat
                and shall maintain a Panel of Conciliators and a Panel of Arbitrators.

                                           Section 2
                                    The Administrative Council

                Article 4

                     (1) The Administrative Council shall be composed of one repre-
                sentative of each Contracting State. An alternate may act as representa-
                tive in case of his principal’s absence from a meeting or inability to act.
                     (2) In the absence of a contrary designation, each governor and
                alternate governor of the Bank appointed by a Contracting State shall
                be ex officio its representative and its alternate respectively.

                Article 5

                   The President of the Bank shall be ex officio Chairman of the
                Administrative Council (hereinafter called the Chairman) but shall

                12
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 14 of 129
         have no vote. During his absence or inability to act and during any
         vacancy in the office of President of the Bank, the person for the time
         being acting as President shall act as Chairman of the Administrative
         Council.

         Article 6




                                                                                     Convention
             (1) Without prejudice to the powers and functions vested in it by
         other provisions of this Convention, the Administrative Council shall:
                 (a) adopt the administrative and financial regulations of the
                     Centre;
                 (b) adopt the rules of procedure for the institution of concilia-
                     tion and arbitration proceedings;
                 (c) adopt the rules of procedure for conciliation and arbitra-
                     tion proceedings (hereinafter called the Conciliation Rules
                     and the Arbitration Rules);
                 (d) approve arrangements with the Bank for the use of the
                     Bank’s administrative facilities and services;
                 (e) determine the conditions of service of the Secretary-Gen-
                     eral and of any Deputy Secretary-General;
                 (f) adopt the annual budget of revenues and expenditures of
                     the Centre;
                 (g) approve the annual report on the operation of the Centre.
             The decisions referred to in sub-paragraphs (a), (b), (c) and (f)
         above shall be adopted by a majority of two-thirds of the members of
         the Administrative Council.
             (2) The Administrative Council may appoint such committees as it
         considers necessary.
             (3) The Administrative Council shall also exercise such other
         powers and perform such other functions as it shall determine to be
         necessary for the implementation of the provisions of this Convention.

         Article 7

             (1) The Administrative Council shall hold an annual meeting and
         such other meetings as may be determined by the Council, or convened
         by the Chairman, or convened by the Secretary-General at the request
         of not less than five members of the Council.
             (2) Each member of the Administrative Council shall have one
         vote and, except as otherwise herein provided, all matters before the
         Council shall be decided by a majority of the votes cast.
             (3) A quorum for any meeting of the Administrative Council shall
         be a majority of its members.

                                                                               13
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 15 of 129
                    (4) The Administrative Council may establish, by a majority of
                two-thirds of its members, a procedure whereby the Chairman may
                seek a vote of the Council without convening a meeting of the Council.
                The vote shall be considered valid only if the majority of the members
                of the Council cast their votes within the time limit fixed by the said
                procedure.
   Convention




                Article 8
                    Members of the Administrative Council and the Chairman shall
                serve without remuneration from the Centre.

                                             Section 3
                                           The Secretariat

                Article 9

                   The Secretariat shall consist of a Secretary-General, one or more
                Deputy Secretaries-General and staff.

                Article 10

                     (1) The Secretary-General and any Deputy Secretary-General shall
                be elected by the Administrative Council by a majority of two-thirds of
                its members upon the nomination of the Chairman for a term of serv-
                ice not exceeding six years and shall be eligible for re-election. After
                consulting the members of the Administrative Council, the Chairman
                shall propose one or more candidates for each such office.
                     (2) The offices of Secretary-General and Deputy Secretary-General
                shall be incompatible with the exercise of any political function. Neither
                the Secretary-General nor any Deputy Secretary-General may hold any
                other employment or engage in any other occupation except with the
                approval of the Administrative Council.
                     (3) During the Secretary-General’s absence or inability to act, and
                during any vacancy of the office of Secretary-General, the Deputy Sec-
                retary-General shall act as Secretary-General. If there shall be more
                than one Deputy Secretary-General, the Administrative Council shall
                determine in advance the order in which they shall act as Secretary-
                General.

                Article 11

                     The Secretary-General shall be the legal representative and the
                principal officer of the Centre and shall be responsible for its adminis-
                tration, including the appointment of staff, in accordance with the pro-
                visions of this Convention and the rules adopted by the Administrative

                14
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 16 of 129
         Council. He shall perform the function of registrar and shall have the
         power to authenticate arbitral awards rendered pursuant to this Con-
         vention, and to certify copies thereof.

                                        Section 4
                                       The Panels




                                                                                     Convention
         Article 12

              The Panel of Conciliators and the Panel of Arbitrators shall each
         consist of qualified persons, designated as hereinafter provided, who are
         willing to serve thereon.

         Article 13

             (1) Each Contracting State may designate to each Panel four per-
         sons who may but need not be its nationals.
             (2) The Chairman may designate ten persons to each Panel. The
         persons so designated to a Panel shall each have a different nationality.

         Article 14

             (1) Persons designated to serve on the Panels shall be persons of
         high moral character and recognized competence in the fields of law,
         commerce, industry or finance, who may be relied upon to exercise
         independent judgment. Competence in the field of law shall be of par-
         ticular importance in the case of persons on the Panel of Arbitrators.
             (2) The Chairman, in designating persons to serve on the Panels,
         shall in addition pay due regard to the importance of assuring repre-
         sentation on the Panels of the principal legal systems of the world and
         of the main forms of economic activity.

         Article 15

             (1) Panel members shall serve for renewable periods of six years.
             (2) In case of death or resignation of a member of a Panel, the
         authority which designated the member shall have the right to desig-
         nate another person to serve for the remainder of that member’s term.
             (3) Panel members shall continue in office until their successors
         have been designated.

         Article 16

             (1) A person may serve on both Panels.



                                                                               15
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 17 of 129
                    (2) If a person shall have been designated to serve on the same
                Panel by more than one Contracting State, or by one or more Con-
                tracting States and the Chairman, he shall be deemed to have been des-
                ignated by the authority which first designated him or, if one such
                authority is the State of which he is a national, by that State.
                    (3) All designations shall be notified to the Secretary-General and
   Convention




                shall take effect from the date on which the notification is received.

                                              Section 5
                                         Financing the Centre

                Article 17

                    If the expenditure of the Centre cannot be met out of charges for
                the use of its facilities, or out of other receipts, the excess shall be borne
                by Contracting States which are members of the Bank in proportion to
                their respective subscriptions to the capital stock of the Bank, and by
                Contracting States which are not members of the Bank in accordance
                with rules adopted by the Administrative Council.

                                            Section 6
                                 Status, Immunities and Privileges

                Article 18

                    The Centre shall have full international legal personality. The legal
                capacity of the Centre shall include the capacity:
                        (a) to contract;
                        (b) to acquire and dispose of movable and immovable property;
                        (c) to institute legal proceedings.

                Article 19

                    To enable the Centre to fulfil its functions, it shall enjoy in the ter-
                ritories of each Contracting State the immunities and privileges set
                forth in this Section.

                Article 20

                    The Centre, its property and assets shall enjoy immunity from all
                legal process, except when the Centre waives this immunity.




                16
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 18 of 129
         Article 21

             The Chairman, the members of the Administrative Council, per-
         sons acting as conciliators or arbitrators or members of a Committee
         appointed pursuant to paragraph (3) of Article 52, and the officers and
         employees of the Secretariat




                                                                                        Convention
                 (a) shall enjoy immunity from legal process with respect to
                     acts performed by them in the exercise of their functions,
                     except when the Centre waives this immunity;
                 (b) not being local nationals, shall enjoy the same immunities
                     from immigration restrictions, alien registration require-
                     ments and national service obligations, the same facilities
                     as regards exchange restrictions and the same treatment in
                     respect of travelling facilities as are accorded by Contract-
                     ing States to the representatives, officials and employees of
                     comparable rank of other Contracting States.

         Article 22

              The provisions of Article 21 shall apply to persons appearing in
         proceedings under this Convention as parties, agents, counsel, advo-
         cates, witnesses or experts; provided, however, that sub-paragraph
         (b) thereof shall apply only in connection with their travel to and from,
         and their stay at, the place where the proceedings are held.

         Article 23

             (1) The archives of the Centre shall be inviolable, wherever they
         may be.
             (2) With regard to its official communications, the Centre shall be
         accorded by each Contracting State treatment not less favourable than
         that accorded to other international organizations.

         Article 24

              (1) The Centre, its assets, property and income, and its operations
         and transactions authorized by this Convention shall be exempt from
         all taxation and customs duties. The Centre shall also be exempt from
         liability for the collection or payment of any taxes or customs duties.
              (2) Except in the case of local nationals, no tax shall be levied on or
         in respect of expense allowances paid by the Centre to the Chairman or
         members of the Administrative Council, or on or in respect of salaries,
         expense allowances or other emoluments paid by the Centre to officials
         or employees of the Secretariat.
              (3) No tax shall be levied on or in respect of fees or expense
         allowances received by persons acting as conciliators, or arbitrators, or

                                                                                  17
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 19 of 129
                members of a Committee appointed pursuant to paragraph (3) of Arti-
                cle 52, in proceedings under this Convention, if the sole jurisdictional
                basis for such tax is the location of the Centre or the place where such
                proceedings are conducted or the place where such fees or allowances
                are paid.
   Convention




                                          Chapter II
                                  Jurisdiction of the Centre
                Article 25

                     (1) The jurisdiction of the Centre shall extend to any legal dispute
                arising directly out of an investment, between a Contracting State (or
                any constituent subdivision or agency of a Contracting State designated
                to the Centre by that State) and a national of another Contracting State,
                which the parties to the dispute consent in writing to submit to the
                Centre. When the parties have given their consent, no party may with-
                draw its consent unilaterally.
                     (2) “National of another Contracting State” means:
                         (a) any natural person who had the nationality of a Contract-
                             ing State other than the State party to the dispute on the
                             date on which the parties consented to submit such dispute
                             to conciliation or arbitration as well as on the date on
                             which the request was registered pursuant to paragraph (3)
                             of Article 28 or paragraph (3) of Article 36, but does not
                             include any person who on either date also had the nation-
                             ality of the Contracting State party to the dispute; and
                         (b) any juridical person which had the nationality of a Con-
                             tracting State other than the State party to the dispute on
                             the date on which the parties consented to submit such dis-
                             pute to conciliation or arbitration and any juridical person
                             which had the nationality of the Contracting State party to
                             the dispute on that date and which, because of foreign con-
                             trol, the parties have agreed should be treated as a national
                             of another Contracting State for the purposes of this Con-
                             vention.
                     (3) Consent by a constituent subdivision or agency of a Contract-
                ing State shall require the approval of that State unless that State noti-
                fies the Centre that no such approval is required.
                     (4) Any Contracting State may, at the time of ratification, accept-
                ance or approval of this Convention or at any time thereafter, notify the
                Centre of the class or classes of disputes which it would or would not
                consider submitting to the jurisdiction of the Centre. The Secretary-
                General shall forthwith transmit such notification to all Contracting
                18
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 20 of 129
         States. Such notification shall not constitute the consent required by
         paragraph (1).

         Article 26

              Consent of the parties to arbitration under this Convention shall,




                                                                                      Convention
         unless otherwise stated, be deemed consent to such arbitration to the
         exclusion of any other remedy. A Contracting State may require the
         exhaustion of local administrative or judicial remedies as a condition of
         its consent to arbitration under this Convention.

         Article 27

              (1) No Contracting State shall give diplomatic protection, or bring
         an international claim, in respect of a dispute which one of its nation-
         als and another Contracting State shall have consented to submit or
         shall have submitted to arbitration under this Convention, unless such
         other Contracting State shall have failed to abide by and comply with
         the award rendered in such dispute.
              (2) Diplomatic protection, for the purposes of paragraph (1), shall
         not include informal diplomatic exchanges for the sole purpose of facil-
         itating a settlement of the dispute.


                                     Chapter III
                                     Conciliation
                                     Section 1
                               Request for Conciliation

         Article 28

             (1) Any Contracting State or any national of a Contracting State
         wishing to institute conciliation proceedings shall address a request to
         that effect in writing to the Secretary-General who shall send a copy of
         the request to the other party.
             (2) The request shall contain information concerning the issues in
         dispute, the identity of the parties and their consent to conciliation in
         accordance with the rules of procedure for the institution of concilia-
         tion and arbitration proceedings.
             (3) The Secretary-General shall register the request unless he finds,
         on the basis of the information contained in the request, that the dis-
         pute is manifestly outside the jurisdiction of the Centre. He shall forth-
         with notify the parties of registration or refusal to register.


                                                                                19
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 21 of 129
                                           Section 2
                         Constitution of the Conciliation Commission

                Article 29

                    (1) The Conciliation Commission (hereinafter called the Commis-
   Convention




                sion) shall be constituted as soon as possible after registration of a
                request pursuant to Article 28.
                    (2) (a) The Commission shall consist of a sole conciliator or any
                            uneven number of conciliators appointed as the parties
                            shall agree.
                        (b) Where the parties do not agree upon the number of con-
                            ciliators and the method of their appointment, the Com-
                            mission shall consist of three conciliators, one conciliator
                            appointed by each party and the third, who shall be the
                            president of the Commission, appointed by agreement of
                            the parties.

                Article 30

                     If the Commission shall not have been constituted within 90 days
                after notice of registration of the request has been dispatched by the
                Secretary-General in accordance with paragraph (3) of Article 28, or
                such other period as the parties may agree, the Chairman shall, at the
                request of either party and after consulting both parties as far as possi-
                ble, appoint the conciliator or conciliators not yet appointed.

                Article 31

                     (1) Conciliators may be appointed from outside the Panel of Con-
                ciliators, except in the case of appointments by the Chairman pursuant
                to Article 30.
                     (2) Conciliators appointed from outside the Panel of Conciliators
                shall possess the qualities stated in paragraph (1) of Article 14.

                                             Section 3
                                     Conciliation Proceedings

                Article 32

                    (1) The Commission shall be the judge of its own competence.
                    (2) Any objection by a party to the dispute that that dispute is not
                within the jurisdiction of the Centre, or for other reasons is not within
                the competence of the Commission, shall be considered by the Com-


                20
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 22 of 129
         mission which shall determine whether to deal with it as a preliminary
         question or to join it to the merits of the dispute.

         Article 33

             Any conciliation proceeding shall be conducted in accordance with




                                                                                      Convention
         the provisions of this Section and, except as the parties otherwise agree,
         in accordance with the Conciliation Rules in effect on the date on which
         the parties consented to conciliation. If any question of procedure arises
         which is not covered by this Section or the Conciliation Rules or any
         rules agreed by the parties, the Commission shall decide the question.

         Article 34

              (1) It shall be the duty of the Commission to clarify the issues in
         dispute between the parties and to endeavour to bring about agreement
         between them upon mutually acceptable terms. To that end, the Com-
         mission may at any stage of the proceedings and from time to time rec-
         ommend terms of settlement to the parties. The parties shall cooperate
         in good faith with the Commission in order to enable the Commission
         to carry out its functions, and shall give their most serious considera-
         tion to its recommendations.
              (2) If the parties reach agreement, the Commission shall draw up a
         report noting the issues in dispute and recording that the parties have
         reached agreement. If, at any stage of the proceedings, it appears to the
         Commission that there is no likelihood of agreement between the par-
         ties, it shall close the proceedings and shall draw up a report noting the
         submission of the dispute and recording the failure of the parties to
         reach agreement. If one party fails to appear or participate in the pro-
         ceedings, the Commission shall close the proceedings and shall draw up
         a report noting that party’s failure to appear or participate.

         Article 35

             Except as the parties to the dispute shall otherwise agree, neither
         party to a conciliation proceeding shall be entitled in any other proceed-
         ing, whether before arbitrators or in a court of law or otherwise, to
         invoke or rely on any views expressed or statements or admissions or
         offers of settlement made by the other party in the conciliation proceed-
         ings, or the report or any recommendations made by the Commission.




                                                                                21
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 23 of 129
                                             Chapter IV
                                             Arbitration
                                            Section 1
                                      Request for Arbitration
   Convention




                Article 36

                    (1) Any Contracting State or any national of a Contracting State
                wishing to institute arbitration proceedings shall address a request to
                that effect in writing to the Secretary-General who shall send a copy of
                the request to the other party.
                    (2) The request shall contain information concerning the issues in
                dispute, the identity of the parties and their consent to arbitration in
                accordance with the rules of procedure for the institution of concilia-
                tion and arbitration proceedings.
                    (3) The Secretary-General shall register the request unless he finds,
                on the basis of the information contained in the request, that the dis-
                pute is manifestly outside the jurisdiction of the Centre. He shall forth-
                with notify the parties of registration or refusal to register.

                                            Section 2
                                   Constitution of the Tribunal

                Article 37

                    (1) The Arbitral Tribunal (hereinafter called the Tribunal) shall be
                constituted as soon as possible after registration of a request pursuant
                to Article 36.
                    (2) (a) The Tribunal shall consist of a sole arbitrator or any uneven
                             number of arbitrators appointed as the parties shall agree.
                         (b) Where the parties do not agree upon the number of arbi-
                             trators and the method of their appointment, the Tribunal
                             shall consist of three arbitrators, one arbitrator appointed
                             by each party and the third, who shall be the president of
                             the Tribunal, appointed by agreement of the parties.

                Article 38

                    If the Tribunal shall not have been constituted within 90 days after
                notice of registration of the request has been dispatched by the Secre-
                tary-General in accordance with paragraph (3) of Article 36, or such
                other period as the parties may agree, the Chairman shall, at the request
                of either party and after consulting both parties as far as possible,

                22
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 24 of 129
         appoint the arbitrator or arbitrators not yet appointed. Arbitrators
         appointed by the Chairman pursuant to this Article shall not be nation-
         als of the Contracting State party to the dispute or of the Contracting
         State whose national is a party to the dispute.

         Article 39




                                                                                       Convention
             The majority of the arbitrators shall be nationals of States other
         than the Contracting State party to the dispute and the Contracting
         State whose national is a party to the dispute; provided, however, that
         the foregoing provisions of this Article shall not apply if the sole arbi-
         trator or each individual member of the Tribunal has been appointed
         by agreement of the parties.

         Article 40

             (1) Arbitrators may be appointed from outside the Panel of Arbi-
         trators, except in the case of appointments by the Chairman pursuant
         to Article 38.
             (2) Arbitrators appointed from outside the Panel of Arbitrators
         shall possess the qualities stated in paragraph (1) of Article 14.

                                    Section 3
                       Powers and Functions of the Tribunal

         Article 41

             (1) The Tribunal shall be the judge of its own competence.
             (2) Any objection by a party to the dispute that that dispute is not
         within the jurisdiction of the Centre, or for other reasons is not within
         the competence of the Tribunal, shall be considered by the Tribunal
         which shall determine whether to deal with it as a preliminary question
         or to join it to the merits of the dispute.

         Article 42

             (1) The Tribunal shall decide a dispute in accordance with such
         rules of law as may be agreed by the parties. In the absence of such
         agreement, the Tribunal shall apply the law of the Contracting State
         party to the dispute (including its rules on the conflict of laws) and such
         rules of international law as may be applicable.
             (2) The Tribunal may not bring in a finding of non liquet on the
         ground of silence or obscurity of the law.
             (3) The provisions of paragraphs (1) and (2) shall not prejudice the
         power of the Tribunal to decide a dispute ex aequo et bono if the parties
         so agree.
                                                                                 23
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 25 of 129
                Article 43

                     Except as the parties otherwise agree, the Tribunal may, if it deems
                it necessary at any stage of the proceedings,
                         (a) call upon the parties to produce documents or other evi-
                             dence, and
   Convention




                         (b) visit the scene connected with the dispute, and conduct
                             such inquiries there as it may deem appropriate.

                Article 44

                    Any arbitration proceeding shall be conducted in accordance with
                the provisions of this Section and, except as the parties otherwise agree,
                in accordance with the Arbitration Rules in effect on the date on which
                the parties consented to arbitration. If any question of procedure arises
                which is not covered by this Section or the Arbitration Rules or any
                rules agreed by the parties, the Tribunal shall decide the question.

                Article 45

                     (1) Failure of a party to appear or to present his case shall not be
                deemed an admission of the other party’s assertions.
                     (2) If a party fails to appear or to present his case at any stage of the
                proceedings the other party may request the Tribunal to deal with the
                questions submitted to it and to render an award. Before rendering an
                award, the Tribunal shall notify, and grant a period of grace to, the party
                failing to appear or to present its case, unless it is satisfied that that party
                does not intend to do so.

                Article 46

                    Except as the parties otherwise agree, the Tribunal shall, if
                requested by a party, determine any incidental or additional claims or
                counterclaims arising directly out of the subject-matter of the dispute
                provided that they are within the scope of the consent of the parties and
                are otherwise within the jurisdiction of the Centre.

                Article 47

                    Except as the parties otherwise agree, the Tribunal may, if it consid-
                ers that the circumstances so require, recommend any provisional
                measures which should be taken to preserve the respective rights of
                either party.




                24
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 26 of 129
                                        Section 4
                                        The Award

         Article 48

             (1) The Tribunal shall decide questions by a majority of the votes




                                                                                       Convention
         of all its members.
             (2) The award of the Tribunal shall be in writing and shall be
         signed by the members of the Tribunal who voted for it.
             (3) The award shall deal with every question submitted to the Tri-
         bunal, and shall state the reasons upon which it is based.
             (4) Any member of the Tribunal may attach his individual opinion
         to the award, whether he dissents from the majority or not, or a state-
         ment of his dissent.
             (5) The Centre shall not publish the award without the consent of
         the parties.

         Article 49

              (1) The Secretary-General shall promptly dispatch certified copies
         of the award to the parties. The award shall be deemed to have been ren-
         dered on the date on which the certified copies were dispatched.
              (2) The Tribunal upon the request of a party made within 45 days
         after the date on which the award was rendered may after notice to the
         other party decide any question which it had omitted to decide in the
         award, and shall rectify any clerical, arithmetical or similar error in the
         award. Its decision shall become part of the award and shall be notified
         to the parties in the same manner as the award. The periods of time
         provided for under paragraph (2) of Article 51 and paragraph (2) of
         Article 52 shall run from the date on which the decision was rendered.

                                     Section 5
                            Interpretation, Revision and
                              Annulment of the Award

         Article 50

             (1) If any dispute shall arise between the parties as to the meaning
         or scope of an award, either party may request interpretation of the
         award by an application in writing addressed to the Secretary-General.
             (2) The request shall, if possible, be submitted to the Tribunal
         which rendered the award. If this shall not be possible, a new Tribunal
         shall be constituted in accordance with Section 2 of this Chapter. The


                                                                                 25
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 27 of 129
                Tribunal may, if it considers that the circumstances so require, stay
                enforcement of the award pending its decision.

                Article 51

                    (1) Either party may request revision of the award by an applica-
   Convention




                tion in writing addressed to the Secretary-General on the ground of dis-
                covery of some fact of such a nature as decisively to affect the award,
                provided that when the award was rendered that fact was unknown to
                the Tribunal and to the applicant and that the applicant’s ignorance of
                that fact was not due to negligence.
                    (2) The application shall be made within 90 days after the discov-
                ery of such fact and in any event within three years after the date on
                which the award was rendered.
                    (3) The request shall, if possible, be submitted to the Tribunal
                which rendered the award. If this shall not be possible, a new Tribunal
                shall be constituted in accordance with Section 2 of this Chapter.
                    (4) The Tribunal may, if it considers that the circumstances so
                require, stay enforcement of the award pending its decision. If the appli-
                cant requests a stay of enforcement of the award in his application,
                enforcement shall be stayed provisionally until the Tribunal rules on
                such request.

                Article 52

                    (1) Either party may request annulment of the award by an appli-
                cation in writing addressed to the Secretary-General on one or more of
                the following grounds:
                         (a) that the Tribunal was not properly constituted;
                         (b) that the Tribunal has manifestly exceeded its powers;
                         (c) that there was corruption on the part of a member of
                             the Tribunal;
                         (d) that there has been a serious departure from a fundamen-
                             tal rule of procedure; or
                         (e) that the award has failed to state the reasons on which it
                             is based.
                    (2) The application shall be made within 120 days after the date on
                which the award was rendered except that when annulment is requested
                on the ground of corruption such application shall be made within 120
                days after discovery of the corruption and in any event within three
                years after the date on which the award was rendered.
                    (3) On receipt of the request the Chairman shall forthwith appoint
                from the Panel of Arbitrators an ad hoc Committee of three persons.
                None of the members of the Committee shall have been a member of

                26
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 28 of 129
         the Tribunal which rendered the award, shall be of the same nationality
         as any such member, shall be a national of the State party to the dispute
         or of the State whose national is a party to the dispute, shall have been
         designated to the Panel of Arbitrators by either of those States, or shall
         have acted as a conciliator in the same dispute. The Committee shall
         have the authority to annul the award or any part thereof on any of the




                                                                                      Convention
         grounds set forth in paragraph (1).
             (4) The provisions of Articles 41-45, 48, 49, 53 and 54, and of
         Chapters VI and VII shall apply mutatis mutandis to proceedings before
         the Committee.
             (5) The Committee may, if it considers that the circumstances so
         require, stay enforcement of the award pending its decision. If the appli-
         cant requests a stay of enforcement of the award in his application,
         enforcement shall be stayed provisionally until the Committee rules on
         such request.
             (6) If the award is annulled the dispute shall, at the request of
         either party, be submitted to a new Tribunal constituted in accordance
         with Section 2 of this Chapter.

                                      Section 6
                            Recognition and Enforcement
                                    of the Award

         Article 53

              (1) The award shall be binding on the parties and shall not be sub-
         ject to any appeal or to any other remedy except those provided for in
         this Convention. Each party shall abide by and comply with the terms
         of the award except to the extent that enforcement shall have been
         stayed pursuant to the relevant provisions of this Convention.
              (2) For the purposes of this Section, “award” shall include any deci-
         sion interpreting, revising or annulling such award pursuant to Articles
         50, 51 or 52.

         Article 54

             (1) Each Contracting State shall recognize an award rendered pur-
         suant to this Convention as binding and enforce the pecuniary obliga-
         tions imposed by that award within its territories as if it were a final
         judgment of a court in that State. A Contracting State with a federal
         constitution may enforce such an award in or through its federal courts
         and may provide that such courts shall treat the award as if it were a
         final judgment of the courts of a constituent state.



                                                                                27
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 29 of 129
                     (2) A party seeking recognition or enforcement in the territories of
                a Contracting State shall furnish to a competent court or other author-
                ity which such State shall have designated for this purpose a copy of the
                award certified by the Secretary-General. Each Contracting State shall
                notify the Secretary-General of the designation of the competent court
                or other authority for this purpose and of any subsequent change in
   Convention




                such designation.
                     (3) Execution of the award shall be governed by the laws concern-
                ing the execution of judgments in force in the State in whose territories
                such execution is sought.

                Article 55

                    Nothing in Article 54 shall be construed as derogating from the law
                in force in any Contracting State relating to immunity of that State or
                of any foreign State from execution.


                                         Chapter V
                             Replacement and Disqualification
                              of Conciliators and Arbitrators
                Article 56

                     (1) After a Commission or a Tribunal has been constituted and
                proceedings have begun, its composition shall remain unchanged; pro-
                vided, however, that if a conciliator or an arbitrator should die, become
                incapacitated, or resign, the resulting vacancy shall be filled in accor-
                dance with the provisions of Section 2 of Chapter III or Section 2 of
                Chapter IV.
                     (2) A member of a Commission or Tribunal shall continue to serve
                in that capacity notwithstanding that he shall have ceased to be a
                member of the Panel.
                     (3) If a conciliator or arbitrator appointed by a party shall have
                resigned without the consent of the Commission or Tribunal of which
                he was a member, the Chairman shall appoint a person from the appro-
                priate Panel to fill the resulting vacancy.

                Article 57

                    A party may propose to a Commission or Tribunal the disqualifica-
                tion of any of its members on account of any fact indicating a manifest
                lack of the qualities required by paragraph (1) of Article 14. A party to
                arbitration proceedings may, in addition, propose the disqualification


                28
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 30 of 129
         of an arbitrator on the ground that he was ineligible for appointment to
         the Tribunal under Section 2 of Chapter IV.

         Article 58

              The decision on any proposal to disqualify a conciliator or arbitra-




                                                                                        Convention
         tor shall be taken by the other members of the Commission or Tribunal
         as the case may be, provided that where those members are equally
         divided, or in the case of a proposal to disqualify a sole conciliator or
         arbitrator, or a majority of the conciliators or arbitrators, the Chairman
         shall take that decision. If it is decided that the proposal is well-founded
         the conciliator or arbitrator to whom the decision relates shall be
         replaced in accordance with the provisions of Section 2 of Chapter III
         or Section 2 of Chapter IV.


                                    Chapter VI
                                Cost of Proceedings
         Article 59

             The charges payable by the parties for the use of the facilities of the
         Centre shall be determined by the Secretary-General in accordance with
         the regulations adopted by the Administrative Council.

         Article 60

              (1) Each Commission and each Tribunal shall determine the fees
         and expenses of its members within limits established from time to
         time by the Administrative Council and after consultation with the Sec-
         retary-General.
              (2) Nothing in paragraph (1) of this Article shall preclude the par-
         ties from agreeing in advance with the Commission or Tribunal con-
         cerned upon the fees and expenses of its members.

         Article 61

              (1) In the case of conciliation proceedings the fees and expenses of
         members of the Commission as well as the charges for the use of the facil-
         ities of the Centre, shall be borne equally by the parties. Each party shall
         bear any other expenses it incurs in connection with the proceedings.
              (2) In the case of arbitration proceedings the Tribunal shall, except
         as the parties otherwise agree, assess the expenses incurred by the par-
         ties in connection with the proceedings, and shall decide how and by
         whom those expenses, the fees and expenses of the members of the Tri-


                                                                                  29
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 31 of 129
                bunal and the charges for the use of the facilities of the Centre shall be
                paid. Such decision shall form part of the award.


                                          Chapter VII
                                      Place of Proceedings
   Convention




                Article 62

                    Conciliation and arbitration proceedings shall be held at the seat of
                the Centre except as hereinafter provided.

                Article 63

                    Conciliation and arbitration proceedings may be held, if the parties
                so agree,
                        (a) at the seat of the Permanent Court of Arbitration or of any
                            other appropriate institution, whether private or public,
                            with which the Centre may make arrangements for that
                            purpose; or
                        (b) at any other place approved by the Commission or Tri-
                            bunal after consultation with the Secretary-General.


                                        Chapter VIII
                             Disputes Between Contracting States
                Article 64

                    Any dispute arising between Contracting States concerning the
                interpretation or application of this Convention which is not settled by
                negotiation shall be referred to the International Court of Justice by the
                application of any party to such dispute, unless the States concerned
                agree to another method of settlement.


                                             Chapter IX
                                            Amendment
                Article 65

                    Any Contracting State may propose amendment of this Conven-
                tion. The text of a proposed amendment shall be communicated to the
                Secretary-General not less than 90 days prior to the meeting of the
                Administrative Council at which such amendment is to be considered

                30
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 32 of 129
         and shall forthwith be transmitted by him to all the members of the
         Administrative Council.

         Article 66

              (1) If the Administrative Council shall so decide by a majority of




                                                                                      Convention
         two-thirds of its members, the proposed amendment shall be circulated
         to all Contracting States for ratification, acceptance or approval. Each
         amendment shall enter into force 30 days after dispatch by the deposi-
         tary of this Convention of a notification to Contracting States that all
         Contracting States have ratified, accepted or approved the amendment.
              (2) No amendment shall affect the rights and obligations under
         this Convention of any Contracting State or of any of its constituent
         subdivisions or agencies, or of any national of such State arising out of
         consent to the jurisdiction of the Centre given before the date of entry
         into force of the amendment.


                                     Chapter X
                                  Final Provisions
         Article 67

              This Convention shall be open for signature on behalf of States
         members of the Bank. It shall also be open for signature on behalf of
         any other State which is a party to the Statute of the International Court
         of Justice and which the Administrative Council, by a vote of two-thirds
         of its members, shall have invited to sign the Convention.

         Article 68

              (1) This Convention shall be subject to ratification, acceptance or
         approval by the signatory States in accordance with their respective
         constitutional procedures.
              (2) This Convention shall enter into force 30 days after the date of
         deposit of the twentieth instrument of ratification, acceptance or
         approval. It shall enter into force for each State which subsequently
         deposits its instrument of ratification, acceptance or approval 30 days
         after the date of such deposit.

         Article 69

              Each Contracting State shall take such legislative or other measures
         as may be necessary for making the provisions of this Convention effec-
         tive in its territories.


                                                                                31
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 33 of 129
                Article 70

                    This Convention shall apply to all territories for whose interna-
                tional relations a Contracting State is responsible, except those which
                are excluded by such State by written notice to the depositary of this
                Convention either at the time of ratification, acceptance or approval or
   Convention




                subsequently.

                Article 71

                    Any Contracting State may denounce this Convention by written
                notice to the depositary of this Convention. The denunciation shall take
                effect six months after receipt of such notice.

                Article 72

                    Notice by a Contracting State pursuant to Articles 70 or 71 shall not
                affect the rights or obligations under this Convention of that State or of
                any of its constituent subdivisions or agencies or of any national of that
                State arising out of consent to the jurisdiction of the Centre given by
                one of them before such notice was received by the depositary.

                Article 73

                    Instruments of ratification, acceptance or approval of this Conven-
                tion and of amendments thereto shall be deposited with the Bank
                which shall act as the depositary of this Convention. The depositary
                shall transmit certified copies of this Convention to States members of
                the Bank and to any other State invited to sign the Convention.

                Article 74

                    The depositary shall register this Convention with the Secretariat of
                the United Nations in accordance with Article 102 of the Charter of the
                United Nations and the Regulations thereunder adopted by the General
                Assembly.

                Article 75

                     The depositary shall notify all signatory States of the following:
                        (a) signatures in accordance with Article 67;
                        (b) deposits of instruments of ratification, acceptance and
                            approval in accordance with Article 73;
                        (c) the date on which this Convention enters into force in
                            accordance with Article 68;
                        (d) exclusions from territorial application pursuant to Article
                            70;

                32
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 34 of 129
                 (e) the date on which any amendment of this Convention
                     enters into force in accordance with Article 66; and
                 (f) denunciations in accordance with Article 71.

             DONE at Washington, in the English, French and Spanish lan-




                                                                                   Convention
         guages, all three texts being equally authentic, in a single copy which
         shall remain deposited in the archives of the International Bank for
         Reconstruction and Development, which has indicated by its signature
         below its agreement to fulfil the functions with which it is charged
         under this Convention.




                                                                             33
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 35 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 36 of 129




                                                                           Report of the Executive Directors
                   REPORT OF THE




                                                                                  on the Convention
            EXECUTIVE DIRECTORS ON THE
           CONVENTION ON THE SETTLEMENT
              OF INVESTMENT DISPUTES
                BETWEEN STATES AND
             NATIONALS OF OTHER STATES




              International Bank for Reconstruction and Development
                                  March 18, 1965

                                                                      35
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 37 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 38 of 129

                    REPORT OF THE EXECUTIVE DIRECTORS
                           ON THE CONVENTION

                                      Table of Contents
         Section   Paragraph                                                                               Page




                                                                                                                  Report of the Executive Directors
         I–III     1-14        ........................................                                     38




                                                                                                                         on the Convention
         IV                    The International Centre for Settlement
                               of Investment Disputes
                   15-18       General . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    41
                   19          Functions of the Administrative Council . . . . .                            42
                   20          Functions of the Secretary-General . . . . . . . . . .                       42
                   21          The Panels . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       43

         V                     Jurisdiction of the Centre
                   22           ........................................                                    43
                   23-25       Consent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      43
                   26-27       Nature of the Dispute . . . . . . . . . . . . . . . . . . . . .              44
                   28-30       Parties to the Dispute . . . . . . . . . . . . . . . . . . . . .             44
                   31          Notifications by Contracting States . . . . . . . . . .                      44
                   32          Arbitration as Exclusive Remedy . . . . . . . . . . . .                      45
                   33          Claims by the Investor’s State . . . . . . . . . . . . . . .                 45

         VI                    Proceedings under the Convention
                   34          Institution of Proceedings . . . . . . . . . . . . . . . . .                 45
                   35-36       Constitution of Conciliation Commissions
                               and Arbitral Tribunals . . . . . . . . . . . . . . . . . . . .               46
                   37-40       Conciliation Proceedings; Powers
                               and Functions of Arbitral Tribunals . . . . . . . . .                        46
                   41-43       Recognition and Enforcement of
                               Arbitral Awards . . . . . . . . . . . . . . . . . . . . . . . . . .          47

         VII       44          Place of Proceedings . . . . . . . . . . . . . . . . . . . . . . .           48

         VIII      45          Disputes Between Contracting States . . . . . . .                            48

         IX        46          Entry into Force . . . . . . . . . . . . . . . . . . . . . . . . . . .       48




                                                                                                            37
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 39 of 129

                                         Report of the Executive Directors
                                       on the Convention on the Settlement
                                      of Investment Disputes between States
                                           and Nationals of Other States
  Report of the Executive Directors




                                                                         I
                                          1. Resolution No. 214, adopted by the Board of Governors of the
         on the Convention




                                      International Bank for Reconstruction and Development on September
                                      10, 1964, provides as follows:
                                              “RESOLVED:
                                              (a) The report of the Executive Directors on “Settlement of
                                                  Investment Disputes,” dated August 6, 1964, is hereby
                                                  approved.
                                              (b) The Executive Directors are requested to formulate a con-
                                                  vention establishing facilities and procedures which would
                                                  be available on a voluntary basis for the settlement of
                                                  investment disputes between contracting States and
                                                  Nationals of other contracting States through conciliation
                                                  and arbitration.
                                              (c) In formulating such a convention, the Executive Directors
                                                  shall take into account the views of member governments
                                                  and shall keep in mind the desirability of arriving at a text
                                                  which could be accepted by the largest possible number of
                                                  governments.
                                              (d) The Executive Directors shall submit the text of such a con-
                                                  vention to member governments with such recommenda-
                                                  tions as they shall deem appropriate.”
                                          2. The Executive Directors of the Bank, acting pursuant to the
                                      foregoing Resolution, have formulated a Convention on the Settlement
                                      of Investment Disputes between States and Nationals of Other States
                                      and, on March 18, 1965, approved the submission of the text of the
                                      Convention, as attached hereto, to member governments of the Bank.
                                      This action by the Executive Directors does not, of course, imply that
                                      the governments represented by the individual Executive Directors are
                                      committed to take action on the Convention.
                                          3. The action by the Executive Directors was preceded by exten-
                                      sive preparatory work, details of which are given in paragraphs 6-8
                                      below. The Executive Directors are satisfied that the Convention in the
                                      form attached hereto represents a broad consensus of the views of those
                                      governments which accept the principle of establishing by inter-gov-

                                      38
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 40 of 129
         ernmental agreement facilities and procedures for the settlement of
         investment disputes which States and foreign investors wish to submit
         to conciliation or arbitration. They are also satisfied that the Conven-
         tion constitutes a suitable framework for such facilities and procedures.
         Accordingly, the text of the Convention is submitted to member gov-
         ernments for consideration with a view to signature and ratification,
         acceptance or approval.
             4. The Executive Directors invite attention to the provision of




                                                                                      Report of the Executive Directors
         Article 68(2) pursuant to which the Convention will enter into force as
         between the Contracting States 30 days after deposit with the Bank, the




                                                                                             on the Convention
         depositary of the Convention, of the twentieth instrument of ratifica-
         tion, acceptance or approval.
             5. The attached text of the Convention in the English, French and
         Spanish languages has been deposited in the archives of the Bank, as
         depositary, and is open for signature.

                                            II
              6. The question of the desirability and practicability of establish-
         ing institutional facilities, sponsored by the Bank, for the settlement
         through conciliation and arbitration of investment disputes between
         States and foreign investors was first placed before the Board of Gover-
         nors of the Bank at its Seventeenth Annual Meeting, held in Washing-
         ton, D.C. in September 1962. At that Meeting the Board of Governors,
         by Resolution No. 174, adopted on September 18, 1962, requested the
         Executive Directors to study the question.
              7. After a series of informal discussions on the basis of working
         papers prepared by the staff of the Bank, the Executive Directors
         decided that the Bank should convene consultative meetings of legal
         experts designated by member governments to consider the subject in
         greater detail. The consultative meetings were held on a regional basis
         in Addis Ababa (December 16-20, 1963), Santiago de Chile (February
         3-7, 1964), Geneva (February 17-21, 1964) and Bangkok (April 27-May
         1, 1964), with the administrative assistance of the United Nations Eco-
         nomic Commissions and the European Office of the United Nations,
         and took as the basis for discussion a Preliminary Draft of a Convention
         on Settlement of Investment Disputes between States and Nationals of
         Other States prepared by the staff of the Bank in the light of the discus-
         sions of the Executive Directors and the views of governments. The
         meetings were attended by legal experts from 86 countries.
              8. In the light of the preparatory work and of the views expressed
         at the consultative meetings, the Executive Directors reported to the
         Board of Governors at its Nineteenth Annual Meeting in Tokyo, in Sep-
         tember 1964, that it would be desirable to establish the institutional
         facilities envisaged, and to do so within the framework of an inter-gov-

                                                                                39
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 41 of 129
                                      ernmental agreement. The Board of Governors adopted the Resolution
                                      set forth in paragraph 1 of this Report, whereupon the Executive Direc-
                                      tors undertook the formulation of the present Convention. With a view
                                      to arriving at a text which could be accepted by the largest possible
                                      number of governments, the Bank invited its members to designate rep-
                                      resentatives to a Legal Committee which would assist the Executive
                                      Directors in their task. This Committee met in Washington from
                                      November 23 through December 11, 1964, and the Executive Directors
  Report of the Executive Directors




                                      gratefully acknowledge the valuable advice they received from the rep-
                                      resentatives of the 61 member countries who served on the Committee.
         on the Convention




                                                                         III
                                           9. In submitting the attached Convention to governments, the
                                      Executive Directors are prompted by the desire to strengthen the part-
                                      nership between countries in the cause of economic development. The
                                      creation of an institution designed to facilitate the settlement of dis-
                                      putes between States and foreign investors can be a major step toward
                                      promoting an atmosphere of mutual confidence and thus stimulating a
                                      larger flow of private international capital into those countries which
                                      wish to attract it.
                                           10. The Executive Directors recognize that investment disputes are
                                      as a rule settled through administrative, judicial or arbitral procedures
                                      available under the laws of the country in which the investment con-
                                      cerned is made. However, experience shows that disputes may arise
                                      which the parties wish to settle by other methods; and investment
                                      agreements entered into in recent years show that both States and
                                      investors frequently consider that it is in their mutual interest to agree
                                      to resort to international methods of settlement.
                                           11. The present Convention would offer international methods of
                                      settlement designed to take account of the special characteristics of the
                                      disputes covered, as well as of the parties to whom it would apply. It
                                      would provide facilities for conciliation and arbitration by specially
                                      qualified persons of independent judgment carried out according to
                                      rules known and accepted in advance by the parties concerned. In par-
                                      ticular, it would ensure that once a government or investor had given
                                      consent to conciliation or arbitration under the auspices of the Centre,
                                      such consent could not be unilaterally withdrawn.
                                           12. The Executive Directors believe that private capital will con-
                                      tinue to flow to countries offering a favorable climate for attractive and
                                      sound investments, even if such countries did not become parties to the
                                      Convention or, having joined, did not make use of the facilities of the
                                      Centre. On the other hand, adherence to the Convention by a country
                                      would provide additional inducement and stimulate a larger flow of
                                      private international investment into its territories, which is the pri-
                                      mary purpose of the Convention.

                                      40
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 42 of 129
             13. While the broad objective of the Convention is to encourage a
         larger flow of private international investment, the provisions of the
         Convention maintain a careful balance between the interests of
         investors and those of host States. Moreover, the Convention permits
         the institution of proceedings by host States as well as by investors and
         the Executive Directors have constantly had in mind that the provisions
         of the Convention should be equally adapted to the requirements of
         both cases.




                                                                                      Report of the Executive Directors
             14. The provisions of the attached Convention are for the most
         part self-explanatory. Brief comment on a few principal features may,




                                                                                             on the Convention
         however, be useful to member governments in their consideration of
         the Convention.

                                        IV
                     The International Centre for Settlement
                             of Investment Disputes

         General

              15. The Convention establishes the International Centre for Settle-
         ment of Investment Disputes as an autonomous international institu-
         tion (Articles 18-24). The purpose of the Centre is “to provide facilities
         for conciliation and arbitration of investment disputes * * *” (Article
         1(2)). The Centre will not itself engage in conciliation or arbitration
         activities. This will be the task of Conciliation Commissions and Arbi-
         tral Tribunals constituted in accordance with the provisions of the
         Convention.
              16. As sponsor of the establishment of the institution the Bank will
         provide the Centre with premises for its seat (Article 2) and, pursuant
         to arrangements between the two institutions, with other administra-
         tive facilities and services (Article 6(d)).
              17. With respect to the financing of the Centre (Article 17), the
         Executive Directors have decided that the Bank should be prepared to
         provide the Centre with office accommodation free of charge as long as
         the Centre has its seat at the Bank’s headquarters and to underwrite,
         within reasonable limits, the basic overhead expenditure of the Centre
         for a period of years to be determined after the Centre is established.
              18. Simplicity and economy consistent with the efficient discharge
         of the functions of the Centre characterize its structure. The organs of
         the Centre are the Administrative Council (Articles 4-8) and the Secre-
         tariat (Article 9-11). The Administrative Council will be composed of
         one representative of each Contracting State, serving without remuner-
         ation from the Centre. Each member of the Council casts one vote and
         matters before the Council are decided by a majority of the votes cast
         unless a different majority is required by the Convention. The President
                                                                                41
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 43 of 129
                                      of the Bank will serve ex officio as the Council’s Chairman but will have
                                      no vote. The Secretariat will consist of a Secretary-General, one or more
                                      Deputy Secretaries-General and staff. In the interest of flexibility the
                                      Convention provides for the possibility of there being more than one
                                      Deputy Secretary-General, but the Executive Directors do not now
                                      foresee a need for more than one or two full time high officials of the
                                      Centre. Article 10, which requires that the Secretary-General and any
                                      Deputy Secretary-General be elected by the Administrative Council by
  Report of the Executive Directors




                                      a majority of two-thirds of its members, on the nomination of the
                                      Chairman, limits their terms of office to a period not exceeding six years
                                      and permits their re-election. The Executive Directors believe that the
         on the Convention




                                      initial election, which will take place shortly after the Convention will
                                      have come into force, should be for a short term so as not to deprive the
                                      States which ratify the Convention after its entry into force of the pos-
                                      sibility of participating in the selection of the high officials of the
                                      Centre. Article 10 also limits the extent to which these officials may
                                      engage in activities other than their official functions.

                                      Functions of the Administrative Council

                                           19. The principal functions of the Administrative Council are the
                                      election of the Secretary-General and any Deputy Secretary-General,
                                      the adoption of the budget of the Centre and the adoption of adminis-
                                      trative and financial regulations, rules governing the institution of pro-
                                      ceedings and rules of procedure for conciliation and arbitration
                                      proceedings. Action on all these matters requires a majority of two-
                                      thirds of the members of the Council.

                                      Functions of the Secretary-General
                                           20. The Convention requires the Secretary-General to perform a
                                      variety of administrative functions as legal representative, registrar and
                                      principal officer of the Centre (Articles 7(1), 11, 16(3), 25(4), 28, 36,
                                      49(1), 50(1), 51(1), 52(1), 54(2), 59, 60(1), 63(b) and 65). In addition,
                                      the Secretary-General is given the power to refuse registration of a
                                      request for conciliation proceedings or arbitration proceedings, and
                                      thereby to prevent the institution of such proceedings, if on the basis of
                                      the information furnished by the applicant he finds that the dispute is
                                      manifestly outside the jurisdiction of the Centre (Article 28(3) and
                                      36(3)). The Secretary-General is given this limited power to “screen”
                                      requests for conciliation or arbitration proceedings with a view to
                                      avoiding the embarrassment to a party (particularly a State) which
                                      might result from the institution of proceedings against it in a dispute
                                      which it had not consented to submit to the Centre, as well as the pos-
                                      sibility that the machinery of the Centre would be set in motion in cases
                                      which for other reasons were obviously outside the jurisdiction of the


                                      42
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 44 of 129
         Centre e.g., because either the applicant or the other party was not eli-
         gible to be a party in proceedings under the Convention.

         The Panels

             21. Article 3 requires the Centre to maintain a Panel of Conciliators
         and a Panel of Arbitrators, while Articles 12-16 outline the manner and
         terms of designation of Panel members. In particular, Article 14(1)




                                                                                      Report of the Executive Directors
         seeks to ensure that Panel members will possess a high degree of com-
         petence and be capable of exercising independent judgment. In keeping
         with the essentially flexible character of the proceedings, the Conven-




                                                                                             on the Convention
         tion permits the parties to appoint conciliators and arbitrators from
         outside the Panels but requires (Articles 31(2) and 40(2)) that such
         appointees possess the qualities stated in Article 14(1). The Chairman,
         when called upon to appoint a conciliator or arbitrator pursuant to
         Article 30 or 38, is restricted in his choice to Panel members.

                                           V
                              Jurisdiction of the Centre
              22. The term “jurisdiction of the Centre” is used in the Convention
         as a convenient expression to mean the limits within which the provi-
         sions of the Convention will apply and the facilities of the Centre will
         be available for conciliation and arbitration proceedings. The jurisdic-
         tion of the Centre is dealt with in Chapter II of the Convention (Arti-
         cles 25-27).

         Consent

              23. Consent of the parties is the cornerstone of the jurisdiction of
         the Centre. Consent to jurisdiction must be in writing and once given
         cannot be withdrawn unilaterally (Article 25(1)).
              24. Consent of the parties must exist when the Centre is seized
         (Articles 28(3) and 36(3)) but the Convention does not otherwise spec-
         ify the time at which consent should be given. Consent may be given,
         for example, in a clause included in an investment agreement, provid-
         ing for the submission to the Centre of future disputes arising out of
         that agreement, or in a compromis regarding a dispute which has already
         arisen. Nor does the Convention require that the consent of both par-
         ties be expressed in a single instrument. Thus, a host State might in its
         investment promotion legislation offer to submit disputes arising out of
         certain classes of investments to the jurisdiction of the Centre, and the
         investor might give his consent by accepting the offer in writing.
              25. While consent of the parties is an essential prerequisite for the
         jurisdiction of the Centre, consent alone will not suffice to bring a dis-
         pute within its jurisdiction. In keeping with the purpose of the Con-

                                                                                43
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 45 of 129
                                      vention, the jurisdiction of the Centre is further limited by reference to
                                      the nature of the dispute and the parties thereto.

                                      Nature of the Dispute

                                           26. Article 25(1) requires that the dispute must be a “legal dispute
                                      arising directly out of an investment.” The expression “legal dispute” has
                                      been used to make clear that while conflicts of rights are within the
  Report of the Executive Directors




                                      jurisdiction of the Centre, mere conflicts of interests are not. The dis-
                                      pute must concern the existence or scope of a legal right or obligation,
                                      or the nature or extent of the reparation to be made for breach of a legal
         on the Convention




                                      obligation.
                                           27. No attempt was made to define the term “investment” given the
                                      essential requirement of consent by the parties, and the mechanism
                                      through which Contracting States can make known in advance, if they
                                      so desire, the classes of disputes which they would or would not con-
                                      sider submitting to the Centre (Article 25(4)).

                                      Parties to the Dispute

                                          28. For a dispute to be within the jurisdiction of the Centre one of
                                      the parties must be a Contracting State (or a constituent subdivision or
                                      agency of a Contracting State) and the other party must be a “national
                                      of another Contracting State.” The latter term as defined in paragraph
                                      (2) of Article 25 covers both natural persons and juridical persons.
                                          29. It should be noted that under clause (a) of Article 25(2) a nat-
                                      ural person who was a national of the State party to the dispute would
                                      not be eligible to be a party in proceedings under the auspices of the
                                      Centre, even if at the same time he had the nationality of another State.
                                      This ineligibility is absolute and cannot be cured even if the State party
                                      to the dispute had given its consent.
                                          30. Clause (b) of Article 25(2), which deals with juridical persons,
                                      is more flexible. A juridical person which had the nationality of the
                                      State party to the dispute would be eligible to be a party to proceedings
                                      under the auspices of the Centre if that State had agreed to treat it as a
                                      national of another Contracting State because of foreign control.

                                      Notifications by Contracting States

                                          31. While no conciliation or arbitration proceedings could be
                                      brought against a Contracting State without its consent and while no
                                      Contracting State is under any obligation to give its consent to such
                                      proceedings, it was nevertheless felt that adherence to the Convention
                                      might be interpreted as holding out an expectation that Contracting
                                      States would give favorable consideration to requests by investors for
                                      the submission of a dispute to the Centre. It was pointed out in that
                                      connection that there might be classes of investment disputes which
                                      44
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 46 of 129
         governments would consider unsuitable for submission to the Centre
         or which, under their own law, they were not permitted to submit to the
         Centre. In order to avoid any risk of misunderstanding on this score,
         Article 25(4) expressly permits Contracting States to make known to
         the Centre in advance, if they so desire, the classes of disputes which
         they would or would not consider submitting to the Centre. The provi-
         sion makes clear that a statement by a Contracting State that it would
         consider submitting a certain class of dispute to the Centre would serve




                                                                                       Report of the Executive Directors
         for purposes of information only and would not constitute the consent
         required to give the Centre jurisdiction. Of course, a statement exclud-
         ing certain classes of disputes from consideration would not constitute




                                                                                              on the Convention
         a reservation to the Convention.

         Arbitration as Exclusive Remedy

              32. It may be presumed that when a State and an investor agree to
         have recourse to arbitration, and do not reserve the right to have
         recourse to other remedies or require the prior exhaustion of other
         remedies, the intention of the parties is to have recourse to arbitration
         to the exclusion of any other remedy. This rule of interpretation is
         embodied in the first sentence of Article 26. In order to make clear that
         it was not intended thereby to modify the rules of international law
         regarding the exhaustion of local remedies, the second sentence explic-
         itly recognizes the right of a State to require the prior exhaustion of
         local remedies.

         Claims by the Investor’s State

             33. When a host State consents to the submission of a dispute with
         an investor to the Centre, thereby giving the investor direct access to an
         international jurisdiction, the investor should not be in a position to ask
         his State to espouse his case and that State should not be permitted to
         do so. Accordingly, Article 27 expressly prohibits a Contracting State
         from giving diplomatic protection, or bringing an international claim,
         in respect of a dispute which one of its nationals and another Con-
         tracting State have consented to submit, or have submitted, to arbitra-
         tion under the Convention, unless the State party to the dispute fails to
         honor the award rendered in that dispute.

                                        VI
                         Proceedings under the Convention

         Institution of Proceedings

             34. Proceedings are instituted by means of a request addressed to
         the Secretary-General (Articles 28 and 36). After registration of the
         request the Conciliation Commission or Arbitral Tribunal, as the case
                                                                                 45
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 47 of 129
                                      may be, will be constituted. Reference is made to paragraph 20 above on
                                      the power of the Secretary-General to refuse registration.

                                      Constitution of Conciliation Commissions
                                      and Arbitral Tribunals

                                           35. Although the Convention leaves the parties a large measure of
                                      freedom as regards the constitution of Commissions and Tribunals, it
  Report of the Executive Directors




                                      assures that a lack of agreement between the parties on these matters or
                                      the unwillingness of a party to cooperate will not frustrate proceedings
                                      (Articles 29-30 and 37-38, respectively).
         on the Convention




                                           36. Mention has already been made of the fact that the parties are
                                      free to appoint conciliators and arbitrators from outside the Panels (see
                                      paragraph 21 above). While the Convention does not restrict the
                                      appointment of conciliators with reference to nationality, Article 39 lays
                                      down the rule that the majority of the members of an Arbitral Tribunal
                                      should not be nationals of the State party to the dispute or of the State
                                      whose national is a party to the dispute. This rule is likely to have the
                                      effect of excluding persons having these nationalities from serving on a
                                      Tribunal composed of not more than three members. However, the rule
                                      will not apply where each and every arbitrator on the Tribunal has been
                                      appointed by agreement of the parties.

                                      Conciliation Proceedings; Powers and
                                      Functions of Arbitral Tribunals

                                           37. In general, the provisions of Articles 32-35 dealing with concil-
                                      iation proceedings and of Articles 41-49, dealing with the powers and
                                      functions of Arbitral Tribunals and awards rendered by such Tribunals,
                                      are self-explanatory. The differences between the two sets of provisions
                                      reflect the basic distinction between the process of conciliation which
                                      seeks to bring the parties to agreement and that of arbitration which
                                      aims at a binding determination of the dispute by the Tribunal.
                                           38. Article 41 reiterates the well-established principle that interna-
                                      tional tribunals are to be the judges of their own competence and Arti-
                                      cle 32 applies the same principle to Conciliation Commissions. It is to
                                      be noted in this connection that the power of the Secretary-General to
                                      refuse registration of a request for conciliation or arbitration (see para-
                                      graph 20 above) is so narrowly defined as not to encroach on the pre-
                                      rogative of Commissions and Tribunals to determine their own
                                      competence and, on the other hand, that registration of a request by the
                                      Secretary-General does not, of course, preclude a Commission or Tri-
                                      bunal from finding that the dispute is outside the jurisdiction of the
                                      Centre.
                                           39. In keeping with the consensual character of proceedings under
                                      the Convention, the parties to conciliation or arbitration proceedings

                                      46
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 48 of 129
         may agree on the rules of procedure which will apply in those proceed-
         ings. However, if or to the extent that they have not so agreed the Con-
         ciliation Rules and Arbitration Rules adopted by the Administrative
         Council will apply (Articles 33 and 44).
              40. Under the Convention an Arbitral Tribunal is required to apply
         the law agreed by the parties. Failing such agreement, the Tribunal must
         apply the law of the State party to the dispute (unless that law calls for
         the application of some other law), as well as such rules of international




                                                                                                        Report of the Executive Directors
         law as may be applicable. The term “international law” as used in this
         context should be understood in the sense given to it by Article 38(1) of




                                                                                                               on the Convention
         the Statute of the International Court of Justice, allowance being made
         for the fact that Article 38 was designed to apply to inter-State disputes.1

         Recognition and Enforcement of Arbitral Awards

              41. Article 53 declares that the parties are bound by the award and
         that it shall not be subject to appeal or to any other remedy except those
         provided for in the Convention. The remedies provided for are revision
         (Article 51) and annulment (Article 52). In addition, a party may ask a
         Tribunal which omitted to decide any question submitted to it, to sup-
         plement its award (Article 49(2)) and may request interpretation of the
         award (Article 50).
              42. Subject to any stay of enforcement in connection with any of
         the above proceedings in accordance with the provisions of the Con-
         vention, the parties are obliged to abide by and comply with the award
         and Article 54 requires every Contracting State to recognize the award
         as binding and to enforce the pecuniary obligations imposed by the
         award as if it were a final decision of a domestic court. Because of the
         different legal techniques followed in common law and civil law juris-
         dictions and the different judicial systems found in unitary and federal
         or other non-unitary States, Article 54 does not prescribe any particu-
         lar method to be followed in its domestic implementation, but requires
         each Contracting State to meet the requirements of the Article in accor-
         dance with its own legal system.
              43. The doctrine of sovereign immunity may prevent the forced
         execution in a State of judgments obtained against foreign States or

         1   Article 38(1) of the Statute of the International Court of Justice reads as follows:
             “1. The Court, whose function it is to decide in accordance with international law
                  such disputes as are submitted to it, shall apply:
                  a. international conventions, whether general or particular, establishing rules
                     expressly recognized by the contesting states;
                  b. international custom, as evidence of a general practice accepted as law;
                  c. the general principles of law recognized by civilized nations;
                  d. subject to the provisions of Article 59, judicial decisions and the teachings of
                     the most highly qualified publicists of the various nations, as subsidiary
                     means for the determination of rules of law.”

                                                                                                  47
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 49 of 129
                                      against the State in which execution is sought. Article 54 requires Con-
                                      tracting States to equate an award rendered pursuant to the Convention
                                      with a final judgment of its own courts. It does not require them to go
                                      beyond that and to undertake forced execution of awards rendered pur-
                                      suant to the Convention in cases in which final judgments could not be
                                      executed. In order to leave no doubt on this point Article 55 provides
                                      that nothing in Article 54 shall be construed as derogating from the law
                                      in force in any Contracting State relating to immunity of that State or
  Report of the Executive Directors




                                      of any foreign State from execution.

                                                                       VII
         on the Convention




                                                              Place of Proceedings
                                           44. In dealing with proceedings away from the Centre, Article 63
                                      provides that proceedings may be held, if the parties so agree, at the seat
                                      of the Permanent Court of Arbitration or of any other appropriate
                                      institution with which the Centre may enter into arrangements for that
                                      purpose. These arrangements are likely to vary with the type of institu-
                                      tion and to range from merely making premises available for the pro-
                                      ceedings to the provision of complete secretariat services.

                                                                   VIII
                                                    Disputes Between Contracting States
                                           45. Article 64 confers on the International Court of Justice juris-
                                      diction over disputes between Contracting States regarding the inter-
                                      pretation or application of the Convention which are not settled by
                                      negotiation and which the parties do not agree to settle by other meth-
                                      ods. While the provision is couched in general terms, it must be read in
                                      the context of the Convention as a whole. Specifically, the provision
                                      does not confer jurisdiction on the Court to review the decision of a
                                      Conciliation Commission or Arbitral Tribunal as to its competence
                                      with respect to any dispute before it. Nor does it empower a State to
                                      institute proceedings before the Court in respect of a dispute which one
                                      of its nationals and another Contracting State have consented to submit
                                      or have submitted to arbitration, since such proceedings would contra-
                                      vene the provisions of Article 27, unless the other Contracting State had
                                      failed to abide by and comply with the award rendered in that dispute.

                                                                        IX
                                                                 Entry into Force
                                           46. The Convention is open for signature on behalf of States mem-
                                      bers of the Bank. It will also be open for signature on behalf of any other
                                      State which is a party to the Statute of the International Court of Jus-
                                      tice and which the Administrative Council, by a vote of two-thirds of its

                                      48
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 50 of 129
         members, shall have invited to sign. No time limit has been prescribed
         for signature. Signature is required both of States joining before the
         Convention enters into force and those joining thereafter (Article 67).
         The Convention is subject to ratification, acceptance or approval by the
         signatory States in accordance with their constitutional procedures
         (Article 68). As already stated, the Convention will enter into force
         upon the deposit of the twentieth instrument of ratification, acceptance
         or approval.




                                                                                    Report of the Executive Directors
                                                                                           on the Convention




                                                                              49
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 51 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 52 of 129




                       ADMINISTRATIVE
                       AND FINANCIAL
                        REGULATIONS




                                                                Financial Regulations
                                                                 Administrative and




                                                          51
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 53 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 54 of 129

                                  ADMINISTRATIVE AND
                                FINANCIAL REGULATIONS

                                        Table of Contents
         Chapter   Regulation                                                                                Page

         I                      Procedures of the Administrative Council
                   1            Date and Place of the Annual Meeting . . . . . . .                            55
                   2            Notice of Meetings . . . . . . . . . . . . . . . . . . . . . . .              55
                   3            Agenda for Meetings . . . . . . . . . . . . . . . . . . . . . .               56
                   4            Presiding Officer . . . . . . . . . . . . . . . . . . . . . . . . .           56
                   5            Secretary of the Council . . . . . . . . . . . . . . . . . . .                56
                   6            Attendance at Meetings . . . . . . . . . . . . . . . . . . .                  57
                   7            Voting . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    57




                                                                                                                    Financial Regulations
                                                                                                                     Administrative and
         II                     The Secretariat
                   8            Election of the Secretary-General
                                and His Deputies . . . . . . . . . . . . . . . . . . . . . . . . .            58
                   9            Acting Secretary-General . . . . . . . . . . . . . . . . . .                  58
                   10           Appointment of Staff Members . . . . . . . . . . . . .                        59
                   11           Conditions of Employment . . . . . . . . . . . . . . . .                      59
                   12           Authority of the Secretary-General . . . . . . . . . .                        59
                   13           Incompatibility of Functions . . . . . . . . . . . . . . .                    59

         III                    Financial Provisions
                   14           Direct Costs of Individual Proceedings . . . . . . .                          60
                   15           Special Services to Parties . . . . . . . . . . . . . . . . . .               62
                   16           Fee for Lodging Requests . . . . . . . . . . . . . . . . . .                  62
                   17           The Budget . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        63
                   18           Assessment of Contributions . . . . . . . . . . . . . . .                     63
                   19           Audits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    64

         IV                     General Functions of the Secretariat
                   20           List of Contracting States . . . . . . . . . . . . . . . . . .                64
                   21           Establishment of Panels . . . . . . . . . . . . . . . . . . .                 65
                   22           Publication . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       66

         V                      Functions with Respect to
                                Individual Proceedings
                   23           The Registers . . . . . . . . . . . . . . . . . . . . . . . . . . . .         66
                   24           Means of Communication . . . . . . . . . . . . . . . . .                      67
                   25           Secretary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     67
                   26           Place of Proceedings . . . . . . . . . . . . . . . . . . . . . .              68


                                                                                                              53
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 55 of 129
                                 27   Other Assistance . . . . . . . . . . . . . . . . . . . . . . . . .      68
                                 28   Depositary Functions . . . . . . . . . . . . . . . . . . . . .          68

                          VI          Special Provisions Relating to Proceedings
                                 29   Time Limits . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   69
                                 30   Supporting Documentation . . . . . . . . . . . . . . . .                69

                          VII         Immunities and Privileges
                                 31   Certificate of Official Travel . . . . . . . . . . . . . . . .          70
                                 32   Waiver of Immunities . . . . . . . . . . . . . . . . . . . . .          70

                          VIII        Miscellaneous
                                 33   Communications with Contracting States . . . .                          71
                                 34   Official Languages . . . . . . . . . . . . . . . . . . . . . . . .      71
  Financial Regulations
   Administrative and




                          54
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 56 of 129
              The Administrative and Financial Regulations of ICSID were adopted
         by the Administrative Council of the Centre pursuant to Article 6(1)(a) of
         the ICSID Convention.
              The Regulations of particular interest to parties to proceedings under
         the Convention are: 14-16, 22-31 and 34(1). They are intended to be
         complementary both to the Convention and to the Institution, Concilia-
         tion and Arbitration Rules adopted pursuant to Article 6(1)(b) and (c) of
         the Convention.


                           Administrative
                      and Financial Regulations




                                                                                       Financial Regulations
                                                                                        Administrative and
                                    Chapter I
                                Procedures of the
                              Administrative Council
                                  Regulation 1
                      Date and Place of the Annual Meeting
              (1) The Annual Meeting of the Administrative Council shall take
         place in conjunction with the Annual Meeting of the Board of Gover-
         nors of the International Bank for Reconstruction and Development
         (hereinafter referred to as the “Bank”), unless the Council specifies oth-
         erwise.
              (2) The Secretary-General shall coordinate the arrangements for
         the Annual Meeting of the Administrative Council with the appropriate
         officers of the Bank.

                                    Regulation 2
                                  Notice of Meetings
             (1) The Secretary-General shall, by any rapid means of communi-
         cation, give each member notice of the time and place of each meeting
         of the Administrative Council, which notice shall be dispatched not less
         than 42 days prior to the date set for such meeting, except that in urgent
         cases such notice shall be sufficient if dispatched by telegram or cable
         not less than 10 days prior to the date set for such meeting.
             (2) Any meeting of the Administrative Council at which no
         quorum is present may be adjourned from time to time by a majority
         of the members present and notice of the adjourned meeting need not
         be given.
                                                                                 55
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 57 of 129
                                                     Regulation 3
                                                  Agenda for Meetings
                               (1) Under the direction of the Chairman, the Secretary-General
                          shall prepare a brief agenda for each meeting of the Administrative
                          Council and shall transmit such agenda to each member with the notice
                          of such meeting.
                               (2) Additional subjects may be placed on the agenda for any meet-
                          ing of the Administrative Council by any member provided that he shall
                          give notice thereof to the Secretary-General not less than seven days
                          prior to the date set for such meeting. In special circumstances the
                          Chairman, or the Secretary-General after consulting the Chairman,
                          may at any time place additional subjects on the agenda for any meet-
                          ing of the Council. The Secretary-General shall as promptly as possible
                          give each member notice of the addition of any subject to the agenda
                          for any meeting.
  Financial Regulations
   Administrative and




                               (3) The Administrative Council may at any time authorize any sub-
                          ject to be placed on the agenda for any meeting even though the notice
                          required by this Regulation shall not have been given.

                                                      Regulation 4
                                                    Presiding Officer
                               (1) The Chairman shall be the Presiding Officer at meetings of the
                          Administrative Council.
                               (2) If the Chairman is unable to preside over all or part of a meet-
                          ing of the Council, one of the members of the Administrative Council
                          shall act as temporary Presiding Officer. This member shall be the Rep-
                          resentative, Alternate Representative or temporary Alternate Represen-
                          tative of that Contracting State represented at the meeting that stands
                          highest on a list of Contracting States arranged chronologically
                          according to the date of the deposit of instruments of ratification,
                          acceptance or approval of the Convention, starting with the State fol-
                          lowing the one that had on the last previous occasion provided a tem-
                          porary Presiding Officer. A temporary Presiding Officer may cast the
                          vote of the State he represents, or he may assign another member of his
                          delegation to do so.

                                                     Regulation 5
                                                Secretary of the Council
                               (1) The Secretary-General shall serve as Secretary of the Adminis-
                          trative Council.
                               (2) Except as otherwise specifically directed by the Administrative
                          Council, the Secretary-General, in consultation with the Chairman,

                          56
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 58 of 129
         shall have charge of all arrangements for the holding of meetings of the
         Council.
             (3) The Secretary-General shall keep a summary record of the pro-
         ceedings of the Administrative Council, copies of which shall be
         provided to all members.
             (4) The Secretary-General shall present to each Annual Meeting of
         the Administrative Council, for its approval pursuant to Article 6(1)(g)
         of the Convention, the annual report on the operation of the Centre.

                                    Regulation 6
                               Attendance at Meetings
              (1) The Secretary-General and the Deputy Secretaries-General
         may attend all meetings of the Administrative Council.
              (2) The Secretary-General, in consultation with the Chairman,




                                                                                      Financial Regulations
                                                                                       Administrative and
         may invite observers to attend any meeting of the Administrative Coun-
         cil.

                                      Regulation 7
                                         Voting
              (1) Except as otherwise specifically provided in the Convention, all
         decisions of the Administrative Council shall be taken by a majority of
         the votes cast. At any meeting the Presiding Officer may ascertain the
         sense of the meeting in lieu of a formal vote but he shall require a
         formal vote upon the request of any member. Whenever a formal vote
         is required the written text of the motion shall be distributed to the
         members.
              (2) No member of the Administrative Council may vote by proxy
         or by any other method than in person, but the representative of a Con-
         tracting State may designate a temporary alternate to vote for him at
         any meeting at which the regular alternate is not present.
              (3) Whenever, in the judgment of the Chairman, any action must
         be taken by the Administrative Council which should not be postponed
         until the next Annual Meeting of the Council and does not warrant the
         calling of a special meeting, the Secretary-General shall transmit to each
         member by any rapid means of communication a motion embodying
         the proposed action with a request for a vote by the members of the
         Council. Votes shall be cast during a period ending 21 days after such
         dispatch, unless a longer period is approved by the Chairman. At the
         expiration of the established period, the Secretary-General shall record
         the results and notify all members of the Council. If the replies received
         do not include those of a majority of the members, the motion shall be
         considered lost.


                                                                                57
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 59 of 129
                               (4) Whenever at a meeting of the Administrative Council at which
                          all Contracting States are not represented, the votes necessary to adopt
                          a proposed decision by a majority of two-thirds of the members of the
                          Council are not obtained, the Council with the concurrence of the
                          Chairman may decide that the votes of those members of the Council
                          represented at the meeting shall be registered and the votes of the
                          absent members shall be solicited in accordance with paragraph (3) of
                          this Regulation. Votes registered at the meeting may be changed by the
                          member before the expiration of the voting period established pursuant
                          to that paragraph.


                                                     Chapter II
                                                   The Secretariat
  Financial Regulations




                                                    Regulation 8
   Administrative and




                                          Election of the Secretary-General
                                                  and His Deputies
                               In proposing to the Administrative Council one or more candidates
                          for the office of Secretary-General or any Deputy Secretary-General, the
                          Chairman shall at the same time make proposals with respect to:
                                   (a) the length of the term of service;
                                   (b) approval for any of the candidates to hold, if elected, any
                                        other employment or to engage in any other occupation;
                                   (c) the conditions of service, taking into account any propos-
                                        als made pursuant to paragraph (b).

                                                     Regulation 9
                                               Acting Secretary-General
                               (1) If, on the election of a Deputy Secretary-General, there should
                          at any time be more than one Deputy Secretary-General, the Chairman
                          shall immediately after such election propose to the Administrative
                          Council the order in which these Deputies shall act as Secretary-Gen-
                          eral pursuant to Article 10(3) of the Convention. In the absence of such
                          a decision the order shall be that of seniority in the post of Deputy.
                               (2) The Secretary-General shall designate the member of the staff
                          of the Centre who shall act for him during his absence or inability to
                          act, if all Deputy Secretaries-General should also be absent or unable to
                          act or if the office of Deputy should be vacant. If there should be a
                          simultaneous vacancy in the offices of Secretary-General and Deputy
                          Secretary-General, the Chairman shall designate the member of the
                          staff who shall act for the Secretary-General.

                          58
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 60 of 129
                                 Regulation 10
                          Appointment of Staff Members
            The Secretary-General shall appoint the members of the staff of the
         Centre. Appointments may be made directly or by secondment.

                                   Regulation 11
                             Conditions of Employment
              (1) The conditions of service of the members of the staff of the
         Centre shall be the same as those of the staff of the Bank.
              (2) The Secretary-General shall make arrangements with the
         Bank, within the framework of the general administrative arrange-
         ments approved by the Administrative Council pursuant to Article
         6(1)(d) of the Convention, for the participation of members of the
         Secretariat in the Staff Retirement Plan of the Bank as well as in other




                                                                                    Financial Regulations
                                                                                     Administrative and
         facilities and contractual arrangements established for the benefit of
         the staff of the Bank.

                                  Regulation 12
                        Authority of the Secretary-General
             (1) Deputy Secretaries-General and the members of the staff,
         whether on direct appointment or on secondment, shall act solely
         under the direction of the Secretary-General.
             (2) The Secretary-General shall have authority to dismiss members
         of the Secretariat and to impose disciplinary measures. In the case of
         Deputy Secretaries-General dismissal may only be imposed with the
         concurrence of the Administrative Council.

                                 Regulation 13
                           Incompatibility of Functions
            The Secretary-General, the Deputy Secretaries-General and the
         members of the staff may not serve on the Panel of Conciliators or of
         Arbitrators, or as members of any Commission or Tribunal.




                                                                              59
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 61 of 129
                                                    Chapter III
                                                Financial Provisions
                                                   Regulation 14
                                       Direct Costs of Individual Proceedings
                              (1) Unless otherwise agreed pursuant to Article 60(2) of the Con-
                          vention, and in addition to receiving reimbursement for any direct
                          expenses reasonably incurred, each member of a Commission, a Tri-
                          bunal or an ad hoc Committee appointed from the Panel of Arbitrators
                          pursuant to Article 52(3) of the Convention (hereinafter referred to as
                          “Committee”) shall receive:
                                   (a) a fee for each day on which he participates in meetings of
                                       the body of which he is a member;
                                   (b) a fee for the equivalent of each eight-hour day of other
  Financial Regulations
   Administrative and




                                       work performed in connection with the proceedings;
                                   (c) in lieu of reimbursement of subsistence expenses when
                                       away from his normal place of residence, a per diem
                                       allowance based on the allowance established from time to
                                       time for the Executive Directors of the Bank;
                                   (d) travel expenses in connection with meetings of the body of
                                       which he is a member based on the norms established from
                                       time to time for the Executive Directors of the Bank.
                              The amounts of the fees referred to in paragraphs (a) and (b) above
                          shall be determined from time to time by the Secretary-General, with
                          the approval of the Chairman. Any request for a higher amount shall be
                          made through the Secretary-General.
                              (2) All payments, including reimbursement of expenses, to the fol-
                          lowing shall in all cases be made by the Centre and not by or through
                          either party to the proceeding:
                                   (a) members of Commissions, Tribunals and Committees;
                                   (b) witnesses and experts summoned at the initiative of a
                                       Commission, Tribunal or Committee, and not of one of the
                                       parties;
                                   (c) members of the Secretariat of the Centre, including per-
                                       sons (such as interpreters, translators, reporters or secre-
                                       taries) especially engaged by the Centre for a particular
                                       proceeding;
                                   (d) the host of any proceeding held away from the seat of the
                                       Centre pursuant to Article 63 of the Convention.




                          60
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 62 of 129
              (3) In order to enable the Centre to make the payments provided
         for in paragraph (2), as well as to incur other direct expenses in connec-
         tion with a proceeding (other than expenses covered by Regulation 15):
                  (a) the parties shall make advance payments to the Centre as
                      follows:
                      (i) initially as soon as a Commission or Tribunal has been
                            constituted, the Secretary-General shall, after consul-
                            tation with the President of the body in question and,
                            as far as possible, the parties, estimate the expenses
                            that will be incurred by the Centre during the next
                            three to six months and request the parties to make an
                            advance payment of this amount;
                      (ii) if at any time the Secretary-General determines, after
                            consultation with the President of the body in ques-
                            tion and as far as possible the parties, that the




                                                                                        Financial Regulations
                            advances made by the parties will not cover a revised




                                                                                         Administrative and
                            estimate of expenses for the period or any subsequent
                            period, he shall request the parties to make supple-
                            mentary advance payments.
                  (b) the Centre shall not be required to provide any service in
                      connection with a proceeding or to pay the fees, allowances
                      or expenses of the members of any Commission, Tribunal
                      or Committee, unless sufficient advance payments shall
                      previously have been made;
                  (c) if the initial advance payments are insufficient to cover esti-
                      mated future expenses, prior to requesting the parties to
                      make additional advance payments, the Secretary-General
                      shall ascertain the actual expenses incurred and commit-
                      ments entered into by the Centre with regard to each pro-
                      ceeding and shall appropriately charge or credit the parties;
                  (d) in connection with every conciliation proceeding, and in
                      connection with every arbitration proceeding unless a dif-
                      ferent division is provided for in the Arbitration Rules or is
                      decided by the parties or the Tribunal, each party shall pay
                      one half of each advance or supplemental charge, without
                      prejudice to the final decision on the payment of the cost of
                      an arbitration proceeding to be made by the Tribunal pur-
                      suant to Article 61(2) of the Convention. All advances and
                      charges shall be payable, at the place and in the currencies
                      specified by the Secretary-General, as soon as a request for
                      payment is made by him. If the amounts requested are not
                      paid in full within 30 days, then the Secretary-General shall
                      inform both parties of the default and give an opportunity
                      to either of them to make the required payment. At any
                      time 15 days after such information is sent by the Secre-

                                                                                  61
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 63 of 129
                                      tary-General, he may move that the Commission or Tri-
                                      bunal stay the proceeding, if by the date of such motion any
                                      part of the required payment is still outstanding. If any
                                      proceeding is stayed for non-payment for a consecutive
                                      period in excess of six months, the Secretary-General may,
                                      after notice to and as far as possible in consultation with
                                      the parties, move that the competent body discontinue the
                                      proceeding;
                                  (e) in the event that an application for annulment of an award
                                      is registered, the above provisions of this Rule shall apply
                                      mutatis mutandis, except that the applicant shall be solely
                                      responsible for making the advance payments requested by
                                      the Secretary-General to cover expenses following the con-
                                      stitution of the Committee, and without prejudice to the
                                      right of the Committee in accordance with Article 52(4) of
                                      the Convention to decide how and by whom expenses
  Financial Regulations
   Administrative and




                                      incurred in connection with the annulment proceeding
                                      shall be paid.

                                                    Regulation 15
                                              Special Services to Parties
                               (1) The Centre shall only perform any special service for a party in
                          connection with a proceeding (for example, the provision of transla-
                          tions or copies) if the party shall in advance have deposited an amount
                          sufficient to cover the charge for such service.
                               (2) Charges for special services shall normally be based on a sched-
                          ule of fees to be promulgated from time to time by the Secretary-Gen-
                          eral and communicated by him to all Contracting States as well as to the
                          parties to all pending proceedings.

                                                     Regulation 16
                                               Fee for Lodging Requests
                               The party or parties (if a request is made jointly) wishing to insti-
                          tute a conciliation or arbitration proceeding, requesting a supplemen-
                          tary decision to, or the rectification, interpretation, revision or
                          annulment of an arbitral award, or requesting resubmission of a dispute
                          to a new Tribunal after the annulment of an arbitral award, shall pay to
                          the Centre a non-refundable fee determined from time to time by the
                          Secretary-General.




                          62
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 64 of 129
                                     Regulation 17
                                      The Budget
              (1) The fiscal year of the Centre shall run from July 1 of each year
         to June 30 of the following year.
              (2) Before the end of each fiscal year the Secretary-General shall
         prepare and submit, for adoption by the Administrative Council at its
         next Annual Meeting and in accordance with Article 6(1)(f) of the
         Convention, a budget for the following fiscal year. This budget is to
         indicate the expected expenditures of the Centre (excepting those to be
         incurred on a reimbursable basis) and the expected revenues (except-
         ing reimbursements).
              (3) If, during the course of a fiscal year, the Secretary-General
         determines that the expected expenditures will exceed those authorized
         in the budget, or if he should wish to incur expenditures not previously




                                                                                     Financial Regulations
         authorized, he shall, in consultation with the Chairman, prepare a sup-




                                                                                      Administrative and
         plementary budget, which he shall submit to the Administrative Coun-
         cil for adoption, either at the Annual Meeting or at any other meeting,
         or in accordance with Regulation 7(3).
              (4) The adoption of a budget constitutes authority for the Secre-
         tary-General to make expenditures and incur obligations for the pur-
         poses and within the limits specified in the budget. Unless otherwise
         provided by the Administrative Council, the Secretary-General may
         exceed the amount specified for any given budget item, provided that
         the total amount of the budget is not exceeded.
              (5) Pending the adoption of the budget by the Administrative
         Council, the Secretary-General may incur expenditures for the pur-
         poses and within the limits specified in the budget he submitted to the
         Council, up to one quarter of the amount authorized to be expended in
         the previous fiscal year but in no event exceeding the amount that the
         Bank has agreed to make available for the current fiscal year.

                                  Regulation 18
                            Assessment of Contributions
             (1) Any excess of expected expenditures over expected revenues
         shall be assessed on the Contracting States. Each State that is not a
         member of the Bank shall be assessed a fraction of the total assessment
         equal to the fraction of the budget of the International Court of Justice
         that it would have to bear if that budget were divided only among the
         Contracting States in proportion to the then current scale of contribu-
         tions applicable to the budget of the Court; the balance of the total
         assessment shall be divided among the Contracting States that are
         members of the Bank in proportion to their respective subscription to
         the capital stock of the Bank. The assessments shall be calculated by the

                                                                               63
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 65 of 129
                          Secretary-General immediately after the adoption of the annual budget,
                          on the basis of the then current membership of the Centre, and shall be
                          promptly communicated to all Contracting States. The assessments
                          shall be payable as soon as they are thus communicated.
                               (2) On the adoption of a supplementary budget, the Secretary-Gen-
                          eral shall immediately calculate supplementary assessments, which shall
                          be payable as soon as they are communicated to the Contracting States.
                               (3) A State which is party to the Convention during any part of a
                          fiscal year shall be assessed for the entire fiscal year. If a State becomes a
                          party to the Convention after the assessments for a given fiscal year have
                          been calculated, its assessment shall be calculated by the application of
                          the same appropriate factor as was applied in calculating the original
                          assessments, and no recalculation of the assessments of the other Con-
                          tracting States shall be made.
                               (4) If, after the close of a fiscal year, it is determined that there is a
  Financial Regulations




                          cash surplus, such surplus shall, unless the Administrative Council
   Administrative and




                          otherwise decides, be credited to the Contracting States in proportion
                          to the assessed contributions they had paid for that fiscal year. These
                          credits shall be made with respect to the assessments for the fiscal year
                          commencing two years after the end of the fiscal year to which the sur-
                          plus pertains.

                                                        Regulation 19
                                                           Audits
                              The Secretary-General shall have an audit of the accounts of the
                          Centre made once each year and on the basis of this audit submit a
                          financial statement to the Administrative Council for consideration at
                          the Annual Meeting.


                                                       Chapter IV
                                                   General Functions
                                                   of the Secretariat
                                                      Regulation 20
                                                List of Contracting States
                              The Secretary-General shall maintain a list, which he shall transmit
                          from time to time to all Contracting States and on request to any State
                          or person, of the Contracting States (including former Contracting
                          States, showing the date on which their notice of denunciation was
                          received by the depositary), indicating for each:


                          64
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 66 of 129
                 (a) the date on which the Convention entered into force with
                     respect to it;
                 (b) any territories excluded pursuant to Article 70 of the Con-
                     vention and the dates on which the notice of exclusion and
                     any modification of such notice were received by the
                     depositary;
                 (c) any designation, pursuant to Article 25(1) of the Conven-
                     tion, of constituent subdivisions or agencies to whose
                     investment disputes the jurisdiction of the Centre extends;
                 (d) any notification, pursuant to Article 25(3) of the Conven-
                     tion, that no approval by the State is required for the con-
                     sent by a constituent subdivision or agency to the
                     jurisdiction of the Centre;
                 (e) any notification, pursuant to Article 25(4) of the Conven-
                     tion, of the class or classes of disputes which the State




                                                                                     Financial Regulations
                                                                                      Administrative and
                     would or would not consider submitting to the jurisdiction
                     of the Centre;
                 (f) the competent court or other authority for the recognition
                     and enforcement of arbitral awards, designated pursuant to
                     Article 54(2) of the Convention;
                 (g) any legislative or other measures taken, pursuant to Article
                     69 of the Convention, for making its provisions effective in
                     the territories of the State and communicated by the State
                     to the Centre.

                                    Regulation 21
                               Establishment of Panels
             (1) Whenever a Contracting State has the right to make one or
         more designations to the Panel of Conciliators or of Arbitrators, the
         Secretary-General shall invite the State to make such designations.
             (2) Each designation made by a Contracting State or by the Chair-
         man shall indicate the name, address and nationality of the designee,
         and include a statement of his qualifications, with particular reference
         to his competence in the fields of law, commerce, industry and finance.
             (3) As soon as the Secretary-General is notified of a designation, he
         shall inform the designee thereof, indicating to him the designating
         authority and the terminal date of the period of designation, and
         requesting confirmation that the designee is willing to serve.
             (4) The Secretary-General shall maintain lists, which he shall
         transmit from time to time to all Contracting States and on request to
         any State or person, of the members of the Panels of Conciliators and
         of Arbitrators, indicating for each member:

                                                                               65
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 67 of 129
                                  (a)   his address;
                                  (b)   his nationality;
                                  (c)   the terminal date of the current designation;
                                  (d)   the designating authority;
                                  (e)   his qualifications.

                                                       Regulation 22
                                                        Publication
                              (1) The Secretary-General shall appropriately publish information
                          about the operation of the Centre, including the registration of all
                          requests for conciliation or arbitration and in due course an indication
                          of the date and method of the termination of each proceeding.
                              (2) If both parties to a proceeding consent to the publication of:
  Financial Regulations
   Administrative and




                                  (a) reports of Conciliation Commissions;
                                  (b) arbitral awards; or
                                  (c) the minutes and other records of proceedings,
                          the Secretary-General shall arrange for the publication thereof, in an
                          appropriate form with a view to furthering the development of inter-
                          national law in relation to investments.


                                                     Chapter V
                                              Functions with Respect
                                             to Individual Proceedings
                                                       Regulation 23
                                                       The Registers
                               (1) The Secretary-General shall maintain, in accordance with rules
                          to be promulgated by him, separate Registers for requests for concilia-
                          tion and requests for arbitration. In these he shall enter all significant
                          data concerning the institution, conduct and disposition of each pro-
                          ceeding, including in particular the method of constitution and the
                          membership of each Commission, Tribunal and Committee. On the
                          Arbitration Register he shall also enter, with respect to each award, all
                          significant data concerning any request for the supplementation, recti-
                          fication, interpretation, revision or annulment of the award, and any
                          stay of enforcement.
                               (2) The Registers shall be open for inspection by any person. The
                          Secretary-General shall promulgate rules concerning access to the Reg-


                          66
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 68 of 129
         isters, and a schedule of charges for the provision of certified and uncer-
         tified extracts therefrom.

                                  Regulation 24
                              Means of Communication
              (1) During the pendency of any proceeding the Secretary-General
         shall be the official channel of written communications among the par-
         ties, the Commission, Tribunal or Committee, and the Chairman of the
         Administrative Council, except that:
                   (a) the parties may communicate directly with each other
                       unless the communication is one required by the Conven-
                       tion or the Institution, Conciliation or Arbitration Rules
                       (hereinafter referred to as the “Rules”);
                   (b) the members of any Commission, Tribunal or Committee




                                                                                       Financial Regulations
                       shall communicate directly with each other.




                                                                                        Administrative and
              (2) Instruments and documents shall be introduced into the pro-
         ceeding by transmitting them to the Secretary-General, who shall retain
         the original for the files of the Centre and arrange for appropriate dis-
         tribution of copies. If the instrument or document does not meet the
         applicable requirements, the Secretary-General:
                   (a) shall inform the party submitting it of the deficiency, and
                       of any consequent action the Secretary-General is taking;
                   (b) may, if the deficiency is merely a formal one, accept it sub-
                       ject to subsequent correction;
                   (c) may, if the deficiency consists merely of an insufficiency in
                       the number of copies or the lack of required translations,
                       provide the necessary copies or translations at the cost of
                       the party concerned.

                                     Regulation 25
                                       Secretary
             The Secretary-General shall appoint a Secretary for each Commis-
         sion, Tribunal and Committee. The Secretary may be drawn from
         among the Secretariat of the Centre, and shall in any case, while serving
         in that capacity, be considered as a member of its staff. He shall:
                  (a) represent the Secretary-General and may perform all func-
                      tions assigned to the latter by these Regulations or the
                      Rules with regard to individual proceedings or assigned to
                      the latter by the Convention, and delegated by him to the
                      Secretary;
                  (b) be the channel through which the parties may request par-
                      ticular services from the Centre;

                                                                                 67
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 69 of 129
                                  (c) keep summary minutes of hearings, unless the parties agree
                                      with the Commission, Tribunal or Committee on another
                                      manner of keeping the record of the hearings; and
                                  (d) perform other functions with respect to the proceeding at
                                      the request of the President of the Commission, Tribunal
                                      or Committee, or at the direction of the Secretary-General.

                                                      Regulation 26
                                                   Place of Proceedings
                               (1) The Secretary-General shall make arrangements for the hold-
                          ing of conciliation and arbitration proceedings at the seat of the Centre
                          or shall, at the request of the parties and as provided in Article 63 of the
                          Convention, make or supervise arrangements if proceedings are held
                          elsewhere.
  Financial Regulations




                               (2) The Secretary-General shall assist a Commission or Tribunal, at
   Administrative and




                          its request, in visiting any place connected with a dispute or in con-
                          ducting inquiries there.

                                                      Regulation 27
                                                     Other Assistance
                              (1) The Secretary-General shall provide such other assistance as
                          may be required in connection with all meetings of Commissions, Tri-
                          bunals and Committees, in particular in making translations and inter-
                          pretations from one official language of the Centre into another.
                              (2) The Secretary-General may also provide, by use of the staff and
                          equipment of the Centre or of persons employed and equipment
                          acquired on a short-time basis, other services required for the conduct
                          of proceedings, such as the duplication and translation of documents,
                          or interpretations from and to a language other than an official lan-
                          guage of the Centre.

                                                     Regulation 28
                                                  Depositary Functions
                              (1) The Secretary-General shall deposit in the archives of the
                          Centre and shall make arrangements for the permanent retention of the
                          original text:
                                   (a) of the request and of all instruments and documents filed
                                       or prepared in connection with any proceeding, including
                                       the minutes of any hearing;
                                   (b) of any report by a Commission or of any award or decision
                                       by a Tribunal or Committee.

                          68
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 70 of 129
             (2) Subject to the Rules and to the agreement of the parties to
         particular proceedings, and upon payment of any charges in accor-
         dance with a schedule to be promulgated by the Secretary-General, he
         shall make available to the parties certified copies of reports and
         awards (reflecting thereon any supplementary decision, rectification,
         interpretation, revision or annulment duly made, and any stay of
         enforcement while it is in effect), as well as of other instruments, doc-
         uments and minutes.


                                Chapter VI
                Special Provisions Relating to Proceedings
                                      Regulation 29
                                       Time Limits




                                                                                         Financial Regulations
                                                                                          Administrative and
             (1) All time limits, specified in the Convention or the Rules or fixed
         by a Commission, Tribunal, Committee or the Secretary-General, shall
         be computed from the date on which the limit is announced in the pres-
         ence of the parties or their representatives or on which the Secretary-
         General dispatches the pertinent notification or instrument (which
         date shall be marked on it). The day of such announcement or dispatch
         shall be excluded from the calculation.
             (2) A time limit shall be satisfied if a notification or instrument
         dispatched by a party is delivered at the seat of the Centre, or to the Sec-
         retary of the competent Commission, Tribunal or Committee that is
         meeting away from the seat of the Centre, before the close of business
         on the indicated date or, if that day is a Saturday, a Sunday, a public hol-
         iday observed at the place of delivery or a day on which for any reason
         regular mail delivery is restricted at the place of delivery, then before the
         close of business on the next subsequent day on which regular mail
         service is available.

                                   Regulation 30
                              Supporting Documentation
              (1) Documentation filed in support of any request, pleading, appli-
         cation, written observation or other instrument introduced into a pro-
         ceeding shall consist of one original and of the number of additional
         copies specified in paragraph (2). The original shall, unless otherwise
         agreed by the parties or ordered by the competent Commission, Tri-
         bunal or Committee, consist of the complete document or of a duly cer-
         tified copy or extract, except if the party is unable to obtain such
         document or certified copy or extract (in which case the reason for such
         inability must be stated).

                                                                                   69
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 71 of 129
                               (2) The number of additional copies of any document shall be
                          equal to the number of additional copies required of the instrument to
                          which the documentation relates, except that no such copies are required
                          if the document has been published and is readily available. Each addi-
                          tional copy shall be certified by the party presenting it to be a true and
                          complete copy of the original, except that if the document is lengthy and
                          relevant only in part, it is sufficient if it is certified to be a true and com-
                          plete extract of the relevant parts, which must be precisely specified.
                               (3) Each original and additional copy of a document which is not
                          in a language approved for the proceeding in question, shall, unless oth-
                          erwise ordered by the competent Commission, Tribunal or Committee,
                          be accompanied by a certified translation into such a language. How-
                          ever, if the document is lengthy and relevant only in part, it is sufficient
                          if only the relevant parts, which must be precisely specified, are trans-
                          lated, provided that the competent body may require a fuller or a com-
                          plete translation.
  Financial Regulations
   Administrative and




                               (4) Whenever an extract of an original document is presented pur-
                          suant to paragraph (1) or a partial copy or translation pursuant to para-
                          graph (2) or (3), each such extract, copy and translation shall be
                          accompanied by a statement that the omission of the remainder of the
                          text does not render the portion presented misleading.


                                                   Chapter VII
                                             Immunities and Privileges
                                                      Regulation 31
                                              Certificates of Official Travel
                              The Secretary-General may issue certificates to members of Com-
                          missions, Tribunals or Committees, to officers and employees of the
                          Secretariat and to the parties, agents, counsel, advocates, witnesses and
                          experts appearing in proceedings, indicating that they are traveling in
                          connection with a proceeding under the Convention.

                                                      Regulation 32
                                                   Waiver of Immunities
                               (1) The Secretary-General may waive the immunity of:
                                   (a) the Centre;
                                   (b) members of the staff of the Centre.
                               (2) The Chairman of the Council may waive the immunity of:
                                   (a) the Secretary-General or any Deputy Secretary-General;
                                   (b) members of a Commission, Tribunal or Committee;
                          70
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 72 of 129
                 (c) the parties, agents, counsel, advocates, witnesses or experts
                     appearing in a proceeding, if a recommendation for such
                     waiver is made by the Commission, Tribunal or Committee
                     concerned.
             (3) The Administrative Council may waive the immunity of:
                 (a) the Chairman and members of the Council;
                 (b) the parties, agents, counsel, advocates, witnesses or experts
                     appearing in a proceeding, even if no recommendation for
                     such a waiver is made by the Commission, Tribunal or
                     Committee concerned;
                 (c) the Centre or any person mentioned in paragraph (1)
                     or (2).


                                   Chapter VIII




                                                                                     Financial Regulations
                                                                                      Administrative and
                                   Miscellaneous
                                   Regulation 33
                                Communications with
                                 Contracting States
             Unless another channel of communications is specified by the State
         concerned, all communications required by the Convention or these
         Regulations to be sent to Contracting States shall be addressed to the
         State’s representative on the Administrative Council.

                                    Regulation 34
                                  Official Languages
             (1) The official languages of the Centre shall be English, French
         and Spanish.
             (2) The texts of these Regulations in each official language shall be
         equally authentic.




                                                                               71
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 73 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 74 of 129




             RULES OF PROCEDURE FOR THE
             INSTITUTION OF CONCILIATION
            AND ARBITRATION PROCEEDINGS
                 (INSTITUTION RULES)




                                                                 Institution Rules




                                                          73
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 75 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 76 of 129

                       RULES OF PROCEDURE FOR THE
                       INSTITUTION OF CONCILIATION
                      AND ARBITRATION PROCEEDINGS
                           (INSTITUTION RULES)

                                      Table of Contents
         Rule                                                                                           Page

         1      The Request . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    76
         2      Contents of the Request . . . . . . . . . . . . . . . . . . . . . . . . . . .            76
         3      Optional Information in the Request . . . . . . . . . . . . . . . .                      77
         4      Copies of the Request . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          77
         5      Acknowledgement of the Request . . . . . . . . . . . . . . . . . . .                     78
         6      Registration of the Request . . . . . . . . . . . . . . . . . . . . . . . . .            78
         7      Notice of Registration . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         78
         8      Withdrawal of the Request . . . . . . . . . . . . . . . . . . . . . . . . .              79
         9      Final Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     79




                                                                                                               Institution Rules




                                                                                                         75
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 77 of 129
                            The Rules of Procedure for the Institution of Conciliation and Arbi-
                       tration Proceedings (the Institution Rules) of ICSID were adopted by the
                       Administrative Council of the Centre pursuant to Article 6(1)(b) of the
                       ICSID Convention.
                            The Institution Rules are supplemented by the Administrative and
                       Financial Regulations of the Centre, in particular by Regulations 16,
                       22(1), 23, 24, 30 and 34(1).
                            The Institution Rules are restricted in scope to the period of time from
                       the filing of a request to the dispatch of the notice of registration. All trans-
                       actions subsequent to that time are to be regulated in accordance with the
                       Conciliation and the Arbitration Rules.


                                              Institution Rules

                                                         Rule 1
                                                       The Request
                            (1) Any Contracting State or any national of a Contracting State
                       wishing to institute conciliation or arbitration proceedings under the
                       Convention shall address a request to that effect in writing to the Sec-
   Institution Rules




                       retary-General at the seat of the Centre. The request shall indicate
                       whether it relates to a conciliation or an arbitration proceeding. It shall
                       be drawn up in an official language of the Centre, shall be dated, and
                       shall be signed by the requesting party or its duly authorized represen-
                       tative.
                            (2) The request may be made jointly by the parties to the dispute.

                                                       Rule 2
                                               Contents of the Request
                            (1) The request shall:
                                (a) designate precisely each party to the dispute and state the
                                    address of each;
                                (b) state, if one of the parties is a constituent subdivision or
                                    agency of a Contracting State, that it has been designated to
                                    the Centre by that State pursuant to Article 25(1) of the
                                    Convention;
                                (c) indicate the date of consent and the instruments in which
                                    it is recorded, including, if one party is a constituent subdi-
                                    vision or agency of a Contracting State, similar data on the
                                    approval of such consent by that State unless it had notified
                                    the Centre that no such approval is required;

                       76
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 78 of 129
                 (d) indicate with respect to the party that is a national of a
                      Contracting State:
                      (i) its nationality on the date of consent; and
                      (ii) if the party is a natural person:
                            (A)     his nationality on the date of the request; and
                            (B)     that he did not have the nationality of the
                                    Contracting State party to the dispute either
                                    on the date of consent or on the date of the
                                    request; or
                      (iii) if the party is a juridical person which on the date of
                            consent had the nationality of the Contracting State
                            party to the dispute, the agreement of the parties that
                            it should be treated as a national of another Contract-
                            ing State for the purposes of the Convention;
                 (e) contain information concerning the issues in dispute indi-
                      cating that there is, between the parties, a legal dispute aris-
                      ing directly out of an investment; and
                 (f) state, if the requesting party is a juridical person, that it has
                      taken all necessary internal actions to authorize the
                      request.




                                                                                         Institution Rules
             (2) The information required by subparagraphs (1)(c), (1)(d)(iii)
         and (1)(f) shall be supported by documentation.
             (3) “Date of consent” means the date on which the parties to the
         dispute consented in writing to submit it to the Centre; if both parties
         did not act on the same day, it means the date on which the second
         party acted.

                                         Rule 3
                                  Optional Information
                                     in the Request
             The request may in addition set forth any provisions agreed by the
         parties regarding the number of conciliators or arbitrators and the
         method of their appointment, as well as any other provisions agreed
         concerning the settlement of the dispute.

                                        Rule 4
                                 Copies of the Request
             (1) The request shall be accompanied by five additional signed
         copies. The Secretary-General may require such further copies as he
         may deem necessary.


                                                                                   77
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 79 of 129


                           (2) Any documentation submitted with the request shall conform
                       to the requirements of Administrative and Financial Regulation 30.

                                                   Rule 5
                                        Acknowledgement of the Request
                           (1) On receiving a request the Secretary-General shall:
                               (a) send an acknowledgement to the requesting party;
                               (b) take no other action with respect to the request until he has
                                   received payment of the prescribed fee.
                           (2) As soon as he has received the fee for lodging the request, the
                       Secretary-General shall transmit a copy of the request and of the
                       accompanying documentation to the other party.

                                                      Rule 6
                                           Registration of the Request
                           (1) The Secretary-General shall, subject to Rule 5(1)(b), as soon as
                       possible, either:
   Institution Rules




                               (a) register the request in the Conciliation or the Arbitration
                                    Register and on the same day notify the parties of the reg-
                                    istration; or
                               (b) if he finds, on the basis of the information contained in the
                                    request, that the dispute is manifestly outside the jurisdic-
                                    tion of the Centre, notify the parties of his refusal to regis-
                                    ter the request and of the reasons therefor.
                           (2) A proceeding under the Convention shall be deemed to have
                       been instituted on the date of the registration of the request.

                                                       Rule 7
                                               Notice of Registration
                            The notice of registration of a request shall:
                               (a) record that the request is registered and indicate the date of
                                   the registration and of the dispatch of that notice;
                               (b) notify each party that all communications and notices in
                                   connection with the proceeding will be sent to the address
                                   stated in the request, unless another address is indicated to
                                   the Centre;
                               (c) unless such information has already been provided, invite
                                   the parties to communicate to the Secretary-General any

                       78
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 80 of 129


                     provisions agreed by them regarding the number and the
                     method of appointment of the conciliators or arbitrators;
                 (d) invite the parties to proceed, as soon as possible, to consti-
                     tute a Conciliation Commission in accordance with Arti-
                     cles 29 to 31 of the Convention, or an Arbitral Tribunal in
                     accordance with Articles 37 to 40;
                 (e) remind the parties that the registration of the request is
                     without prejudice to the powers and functions of the Con-
                     ciliation Commission or Arbitral Tribunal in regard to
                     jurisdiction, competence and the merits; and
                 (f) be accompanied by a list of the members of the Panel of
                     Conciliators or of Arbitrators of the Centre.

                                      Rule 8
                             Withdrawal of the Request
              The requesting party may, by written notice to the Secretary-Gen-
         eral, withdraw the request before it has been registered. The Secretary-
         General shall promptly notify the other party, unless, pursuant to Rule
         5(1)(b), the request had not been transmitted to it.




                                                                                      Institution Rules
                                        Rule 9
                                   Final Provisions
             (1) The texts of these Rules in each official language of the Centre
         shall be equally authentic.
             (2) These Rules may be cited as the “Institution Rules” of the
         Centre.




                                                                                79
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 81 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 82 of 129




                 RULES OF PROCEDURE
            FOR CONCILIATION PROCEEDINGS
                (CONCILIATION RULES)




                                                                 Conciliation Rules




                                                          81
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 83 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 84 of 129

                               RULES OF PROCEDURE
                          FOR CONCILIATION PROCEEDINGS
                              (CONCILIATION RULES)

                                       Table of Contents
         Chapter   Rule                                                                              Page


         I                 Establishment of the Commission
                   1       General Obligations . . . . . . . . . . . . . . . . . . . . . . . . .      85
                   2       Method of Constituting the Commission
                           in the Absence of Previous Agreement . . . . . . . . . .                   85
                   3       Appointment of Conciliators to a
                           Commission Constituted in Accordance
                           with Convention Article 29(2)(b) . . . . . . . . . . . . . .               86
                   4       Appointment of Conciliators by the
                           Chairman of the Administrative Council . . . . . . . .                     87
                   5       Acceptance of Appointments . . . . . . . . . . . . . . . . . .             87
                   6       Constitution of the Commission . . . . . . . . . . . . . . .               88
                   7       Replacement of Conciliators . . . . . . . . . . . . . . . . . .            88
                   8       Incapacity or Resignation of Conciliators . . . . . . .                    88
                   9       Disqualification of Conciliators . . . . . . . . . . . . . . . .           89
                   10      Procedure during a Vacancy on the Commission .                             89
                   11      Filling Vacancies on the Commission . . . . . . . . . . .                  90
                   12      Resumption of Proceeding after Filling a Vacancy                           90



                                                                                                            Conciliation Rules
         II                Working of the Commission
                   13      Sessions of the Commission . . . . . . . . . . . . . . . . . .             90
                   14      Sittings of the Commission . . . . . . . . . . . . . . . . . . .           91
                   15      Deliberations of the Commission . . . . . . . . . . . . . .                91
                   16      Decisions of the Commission . . . . . . . . . . . . . . . . .              92
                   17      Incapacity of the President . . . . . . . . . . . . . . . . . . . .        92
                   18      Representation of the Parties . . . . . . . . . . . . . . . . . .          92

         III               General Procedural Provisions
                   19      Procedural Orders . . . . . . . . . . . . . . . . . . . . . . . . . . .    92
                   20      Preliminary Procedural Consultation . . . . . . . . . . .                  93
                   21      Procedural Languages . . . . . . . . . . . . . . . . . . . . . . . .       93

         IV                Conciliation Procedures
                   22      Functions of the Commission . . . . . . . . . . . . . . . . .              94
                   23      Cooperation of the Parties . . . . . . . . . . . . . . . . . . . .         94
                   24      Transmission of the Request . . . . . . . . . . . . . . . . . .            95
                   25      Written Statements . . . . . . . . . . . . . . . . . . . . . . . . . .     95

                                                                                                      83
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 85 of 129
                             26   Supporting Documentation . . . . . . . . . . . . . . . . . . .                   95
                             27   Hearings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   95
                             28   Witnesses and Experts . . . . . . . . . . . . . . . . . . . . . . .              96

                        V         Termination of the Proceeding
                             29   Objections to Jurisdiction . . . . . . . . . . . . . . . . . . . .               96
                             30   Closure of the Proceeding . . . . . . . . . . . . . . . . . . . .                97
                             31   Preparation of the Report . . . . . . . . . . . . . . . . . . . .                97
                             32   The Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     97
                             33   Communication of the Report . . . . . . . . . . . . . . . .                      98

                        VI        General Provisions
                             34   Final Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       98
   Conciliation Rules




                        84
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 86 of 129
             The Rules of Procedure for Conciliation Proceedings (the Conciliation
         Rules) of ICSID were adopted by the Administrative Council of the Centre
         pursuant to Article 6(1)(c) of the ICSID Convention.
             The Conciliation Rules are supplemented by the Administrative and
         Financial Regulations of the Centre, in particular by Regulations 14-16,
         22-31 and 34(1).
             The Conciliation Rules cover the period of time from the dispatch of
         the notice of registration of a request for conciliation until a report is
         drawn up. The transactions previous to that time are to be regulated in
         accordance with the Institution Rules.


                             Conciliation Rules

                                 Chapter I
                      Establishment of the Commission
                                        Rule 1
                                  General Obligations
             (1) Upon notification of the registration of the request for concili-
         ation, the parties shall, with all possible dispatch, proceed to constitute
         a Commission, with due regard to Section 2 of Chapter III of the Con-
         vention.


                                                                                       Conciliation Rules
             (2) Unless such information is provided in the request, the parties
         shall communicate to the Secretary-General as soon as possible any
         provisions agreed by them regarding the number of conciliators and the
         method of their appointment.

                                    Rule 2
                 Method of Constituting the Commission in the
                       Absence of Previous Agreement
              (1) If the parties, at the time of the registration of the request for
         conciliation, have not agreed upon the number of conciliators and the
         method of their appointment, they shall, unless they agree otherwise,
         follow the following procedure:
                  (a) the requesting party shall, within 10 days after the registra-
                       tion of the request, propose to the other party the appoint-
                       ment of a sole conciliator or of a specified uneven number
                       of conciliators and specify the method proposed for their
                       appointment;

                                                                                 85
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 87 of 129
                                 (b) within 20 days after receipt of the proposals made by the
                                     requesting party, the other party shall:
                                     (i) accept such proposals; or
                                     (ii) make other proposals regarding the number of concil-
                                          iators and the method of their appointment;
                                 (c) within 20 days after receipt of the reply containing any such
                                     other proposals, the requesting party shall notify the other
                                     party whether it accepts or rejects such proposals.
                             (2) The communications provided for in paragraph (1) shall be
                        made or promptly confirmed in writing and shall either be transmitted
                        through the Secretary-General or directly between the parties with a
                        copy to the Secretary-General. The parties shall promptly notify the
                        Secretary-General of the contents of any agreement reached.
                             (3) At any time 60 days after the registration of the request, if no
                        agreement on another procedure is reached, either party may inform
                        the Secretary-General that it chooses the formula provided for in Arti-
                        cle 29(2)(b) of the Convention. The Secretary-General shall thereupon
                        promptly inform the other party that the Commission is to be consti-
                        tuted in accordance with that Article.

                                                   Rule 3
                                         Appointment of Conciliators
                                  to a Commission Constituted in Accordance
                                       with Convention Article 29(2)(b)
                             (1) If the Commission is to be constituted in accordance with Arti-
                        cle 29(2)(b) of the Convention:
   Conciliation Rules




                                 (a) either party shall, in a communication to the other party:
                                      (i) name two persons, identifying one of them as the con-
                                           ciliator appointed by it and the other as the conciliator
                                           proposed to be the President of the Commission; and
                                      (ii) invite the other party to concur in the appointment of
                                           the conciliator proposed to be the President of the
                                           Commission and to appoint another conciliator;
                                 (b) promptly upon receipt of this communication the other
                                      party shall, in its reply:
                                      (i) name a person as the conciliator appointed by it; and
                                      (ii) concur in the appointment of the conciliator pro-
                                           posed to be the President of the Commission or name
                                           another person as the conciliator proposed to be Pres-
                                           ident;



                        86
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 88 of 129
                 (c) promptly upon receipt of the reply containing such a pro-
                      posal, the initiating party shall notify the other party whether
                      it concurs in the appointment of the conciliator proposed by
                      that party to be the President of the Commission.
             (2) The communications provided for in this Rule shall be made or
         promptly confirmed in writing and shall either be transmitted through
         the Secretary-General or directly between the parties with a copy to the
         Secretary-General.

                                   Rule 4
                  Appointment of Conciliators by the Chairman
                         of the Administrative Council
             (1) If the Commission is not constituted within 90 days after the
         dispatch by the Secretary-General of the notice of registration, or such
         other period as the parties may agree, either party may, through the Sec-
         retary-General, address to the Chairman of the Administrative Council
         a request in writing to appoint the conciliator or conciliators not yet
         appointed and to designate a conciliator to be the President of the
         Commission.
             (2) The provision of paragraph (1) shall apply mutatis mutandis in
         the event that the parties have agreed that the conciliators shall elect the
         President of the Commission and they fail to do so.
             (3) The Secretary-General shall forthwith send a copy of the
         request to the other party.
             (4) The Chairman shall use his best efforts to comply with that
         request within 30 days after its receipt. Before he proceeds to make an


                                                                                         Conciliation Rules
         appointment or designation, with due regard to Article 31(1) of the
         Convention, he shall consult both parties as far as possible.
             (5) The Secretary-General shall promptly notify the parties of any
         appointment or designation made by the Chairman.

                                       Rule 5
                             Acceptance of Appointments
              (1) The party or parties concerned shall notify the Secretary-Gen-
         eral of the appointment of each conciliator and indicate the method of
         his appointment.
              (2) As soon as the Secretary-General has been informed by a party
         or the Chairman of the Administrative Council of the appointment of
         a conciliator, he shall seek an acceptance from the appointee.
              (3) If a conciliator fails to accept his appointment within 15 days,
         the Secretary-General shall promptly notify the parties, and if appro-
         priate the Chairman, and invite them to proceed to the appointment of

                                                                                   87
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 89 of 129
                        another conciliator in accordance with the method followed for the pre-
                        vious appointment.

                                                      Rule 6
                                          Constitution of the Commission
                             (1) The Commission shall be deemed to be constituted and the
                        proceeding to have begun on the date the Secretary-General notifies the
                        parties that all the conciliators have accepted their appointment.
                             (2) Before or at the first session of the Commission, each concilia-
                        tor shall sign a declaration in the following form:
                             “To the best of my knowledge there is no reason why I should not
                             serve on the Conciliation Commission constituted by the Interna-
                             tional Centre for Settlement of Investment Disputes with respect to
                             a dispute between _________________and _________________.
                             “I shall keep confidential all information coming to my knowledge
                             as a result of my participation in this proceeding, as well as the con-
                             tents of any report drawn up by the Commission.
                             “I shall not accept any instruction or compensation with regard to
                             the proceeding from any source except as provided in the Conven-
                             tion on the Settlement of Investment Disputes between States and
                             Nationals of Other States and in the Regulations and Rules made
                             pursuant thereto.
                             “A statement of my past and present professional, business and
                             other relationships (if any) with the parties is attached hereto.”
                             Any conciliator failing to sign such a declaration by the end of the
                        first session of the Commission shall be deemed to have resigned.
   Conciliation Rules




                                                     Rule 7
                                            Replacement of Conciliators
                            At any time before the Commission is constituted, each party may
                        replace any conciliator appointed by it and the parties may by common
                        consent agree to replace any conciliator. The procedure of such replace-
                        ment shall be in accordance with Rules 1, 5 and 6.

                                                     Rule 8
                                    Incapacity or Resignation of Conciliators
                            (1) If a conciliator becomes incapacitated or unable to perform the
                        duties of his office, the procedure in respect of the disqualification of
                        conciliators set forth in Rule 9 shall apply.
                            (2) A conciliator may resign by submitting his resignation to the
                        other members of the Commission and the Secretary-General. If the

                        88
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 90 of 129
         conciliator was appointed by one of the parties, the Commission shall
         promptly consider the reasons for his resignation and decide whether it
         consents thereto. The Commission shall promptly notify the Secretary-
         General of its decision.

                                        Rule 9
                           Disqualification of Conciliators
               (1) A party proposing the disqualification of a conciliator pursuant
         to Article 57 of the Convention shall promptly, and in any event before
         the Commission first recommends terms of settlement of the dispute to
         the parties or when the proceeding is closed (whichever occurs earlier),
         file its proposal with the Secretary-General, stating its reasons therefor.
               (2) The Secretary-General shall forthwith:
                   (a) transmit the proposal to the members of the Commission
                       and, if it relates to a sole conciliator or to a majority of the
                       members of the Commission, to the Chairman of the
                       Administrative Council; and
                   (b) notify the other party of the proposal.
               (3) The conciliator to whom the proposal relates may, without
         delay, furnish explanations to the Commission or the Chairman, as the
         case may be.
               (4) Unless the proposal relates to a majority of the members of the
         Commission, the other members shall promptly consider and vote on
         the proposal in the absence of the conciliator concerned. If those mem-
         bers are equally divided, they shall, through the Secretary-General,
         promptly notify the Chairman of the proposal, of any explanation fur-


                                                                                          Conciliation Rules
         nished by the conciliator concerned and of their failure to reach a deci-
         sion.
               (5) Whenever the Chairman has to decide on a proposal to dis-
         qualify a conciliator, he shall use his best efforts to take that decision
         within 30 days after he has received the proposal.
               (6) The proceeding shall be suspended until a decision has been
         taken on the proposal.

                                       Rule 10
                              Procedure during a Vacancy
                                  on the Commission
              (1) The Secretary-General shall forthwith notify the parties and, if
         necessary, the Chairman of the Administrative Council of the disquali-
         fication, death, incapacity or resignation of a conciliator and of the con-
         sent, if any, of the Commission to a resignation.


                                                                                    89
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 91 of 129
                            (2) Upon the notification by the Secretary-General of a vacancy on
                        the Commission, the proceeding shall be or remain suspended until the
                        vacancy has been filled.

                                                        Rule 11
                                                   Filling Vacancies
                                                  on the Commission
                            (1) Except as provided in paragraph (2), a vacancy resulting from
                        the disqualification, death, incapacity or resignation of a conciliator
                        shall be promptly filled by the same method by which his appointment
                        had been made.
                            (2) In addition to filling vacancies relating to conciliators
                        appointed by him, the Chairman of the Administrative Council shall
                        appoint a person from the Panel of Conciliators:
                                 (a) to fill a vacancy caused by the resignation, without the con-
                                     sent of the Commission, of a conciliator appointed by a
                                     party; or
                                 (b) at the request of either party, to fill any other vacancy, if no
                                     new appointment is made and accepted within 45 days of
                                     the notification of the vacancy by the Secretary-General.
                            (3) The procedure for filling a vacancy shall be in accordance with
                        Rules 1, 4(4), 4(5), 5 and, mutatis mutandis, 6(2).

                                                       Rule 12
                                             Resumption of Proceeding
                                               after Filling a Vacancy
   Conciliation Rules




                            As soon as a vacancy on the Commission has been filled, the pro-
                        ceeding shall continue from the point it had reached at the time the
                        vacancy occurred. The newly appointed conciliator may, however,
                        require that any hearings be repeated in whole or in part.


                                                  Chapter II
                                          Working of the Commission
                                                      Rule 13
                                            Sessions of the Commission
                             (1) The Commission shall hold its first session within 60 days after
                        its constitution or such other period as the parties may agree. The dates
                        of that session shall be fixed by the President of the Commission after
                        consultation with its members and the Secretary-General. If upon its

                        90
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 92 of 129
         constitution the Commission has no President because the parties have
         agreed that the President shall be elected by its members, the Secretary-
         General shall fix the dates of that session. In both cases, the parties shall
         be consulted as far as possible.
              (2) The dates of subsequent sessions shall be determined by the
         Commission, after consultation with the Secretary-General and with
         the parties as far as possible.
              (3) The Commission shall meet at the seat of the Centre or at such
         other place as may have been agreed by the parties in accordance with
         Article 63 of the Convention. If the parties agree that the proceeding
         shall be held at a place other than the Centre or an institution with
         which the Centre has made the necessary arrangements, they shall con-
         sult with the Secretary-General and request the approval of the Com-
         mission. Failing such approval, the Commission shall meet at the seat of
         the Centre.
              (4) The Secretary-General shall notify the members of the Com-
         mission and the parties of the dates and place of the sessions of the
         Commission in good time.

                                        Rule 14
                              Sittings of the Commission
              (1) The President of the Commission shall conduct its hearings
         and preside at its deliberations.
              (2) Except as the parties otherwise agree, the presence of a major-
         ity of the members of the Commission shall be required at its sittings.
              (3) The President of the Commission shall fix the date and hour of


                                                                                         Conciliation Rules
         its sittings.

                                         Rule 15
                                     Deliberations of
                                     the Commission
             (1) The deliberations of the Commission shall take place in private
         and remain secret.
             (2) Only members of the Commission shall take part in its deliber-
         ations. No other person shall be admitted unless the Commission
         decides otherwise.




                                                                                   91
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 93 of 129
                                                      Rule 16
                                                    Decisions of
                                                  the Commission
                            (1) Decisions of the Commission shall be taken by a majority of
                        the votes of all its members. Abstention shall count as a negative vote.
                            (2) Except as otherwise provided by these Rules or decided by the
                        Commission, it may take any decision by correspondence among its
                        members, provided that all of them are consulted. Decisions so taken
                        shall be certified by the President of the Commission.

                                                       Rule 17
                                                    Incapacity of
                                                    the President
                             If at any time the President of the Commission should be unable to
                        act, his functions shall be performed by one of the other members of
                        the Commission, acting in the order in which the Secretary-General
                        had received the notice of their acceptance of their appointment to the
                        Commission.

                                                      Rule 18
                                                 Representation of
                                                    the Parties
                            (1) Each party may be represented or assisted by agents, counsel or
                        advocates whose names and authority shall be notified by that party to
                        the Secretary-General, who shall promptly inform the Commission and
   Conciliation Rules




                        the other party.
                            (2) For the purposes of these Rules, the expression “party”
                        includes, where the context so admits, an agent, counsel or advocate
                        authorized to represent that party.


                                                Chapter III
                                       General Procedural Provisions
                                                      Rule 19
                                                 Procedural Orders
                            The Commission shall make the orders required for the conduct of
                        the proceeding.



                        92
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 94 of 129
                                      Rule 20
                               Preliminary Procedural
                                    Consultation
              (1) As early as possible after the constitution of a Commission, its
         President shall endeavor to ascertain the views of the parties regarding
         questions of procedure. For this purpose he may request the parties to
         meet him. He shall, in particular, seek their views on the following mat-
         ters:
                  (a) the number of members of the Commission required to
                      constitute a quorum at its sittings;
                  (b) the language or languages to be used in the proceeding;
                  (c) the evidence, oral or written, which each party intends to
                      produce or to request the Commission to call for, and the
                      written statements which each party intends to file, as well
                      as the time limits within which such evidence should be
                      produced and such statements filed;
                  (d) the number of copies desired by each party of instruments
                      filed by the other; and
                  (e) the manner in which the record of the hearings shall be
                      kept.
              (2) In the conduct of the proceeding the Commission shall apply
         any agreement between the parties on procedural matters, except as
         otherwise provided in the Convention or the Administrative and Finan-
         cial Regulations.



                                                                                     Conciliation Rules
                                      Rule 21
                                Procedural Languages
              (1) The parties may agree on the use of one or two languages to be
         used in the proceeding, provided that, if they agree on any language
         that is not an official language of the Centre, the Commission, after
         consultation with the Secretary-General, gives its approval. If the par-
         ties do not agree on any such procedural language, each of them may
         select one of the official languages (i.e., English, French and Spanish)
         for this purpose.
              (2) If two procedural languages are selected by the parties, any
         instrument may be filed in either language. Either language may be used
         at the hearings, subject, if the Commission so requires, to translation
         and interpretation. The recommendations and the report of the Com-
         mission shall be rendered and the record kept in both procedural lan-
         guages, both versions being equally authentic.



                                                                               93
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 95 of 129
                                                    Chapter IV
                                             Conciliation Procedures
                                                         Rule 22
                                                       Functions of
                                                     the Commission
                            (1) In order to clarify the issues in dispute between the parties, the
                        Commission shall hear the parties and shall endeavor to obtain any
                        information that might serve this end. The parties shall be associated
                        with its work as closely as possible.
                            (2) In order to bring about agreement between the parties, the
                        Commission may, from time to time at any stage of the proceeding,
                        make—orally or in writing—recommendations to the parties. It may
                        recommend that the parties accept specific terms of settlement or that
                        they refrain, while it seeks to bring about agreement between them,
                        from specific acts that might aggravate the dispute; it shall point out to
                        the parties the arguments in favor of its recommendations. It may fix
                        time limits within which each party shall inform the Commission of its
                        decision concerning the recommendations made.
                            (3) The Commission, in order to obtain information that might
                        enable it to discharge its functions, may at any stage of the proceeding:
                                 (a) request from either party oral explanations, documents
                                     and other information;
                                 (b) request evidence from other persons; and
                                 (c) with the consent of the party concerned, visit any place
   Conciliation Rules




                                     connected with the dispute or conduct inquiries there, pro-
                                     vided that the parties may participate in any such visits and
                                     inquiries.

                                                       Rule 23
                                              Cooperation of the Parties
                            (1) The parties shall cooperate in good faith with the Commission
                        and, in particular, at its request furnish all relevant documents, infor-
                        mation and explanations as well as use the means at their disposal to
                        enable the Commission to hear witnesses and experts whom it desires
                        to call. The parties shall also facilitate visits to and inquiries at any place
                        connected with the dispute that the Commission desires to undertake.
                            (2) The parties shall comply with any time limits agreed with or
                        fixed by the Commission.




                        94
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 96 of 129
                                       Rule 24
                             Transmission of the Request
             As soon as the Commission is constituted, the Secretary-General
         shall transmit to each member a copy of the request by which the pro-
         ceeding was initiated, of the supporting documentation, of the notice of
         registration and of any communication received from either party in
         response thereto.

                                        Rule 25
                                  Written Statements
              (1) Upon the constitution of the Commission, its President shall
         invite each party to file, within 30 days or such longer time limit as he
         may fix, a written statement of its position. If, upon its constitution, the
         Commission has no President, such invitation shall be issued and any
         such longer time limit shall be fixed by the Secretary-General. At any
         stage of the proceeding, within such time limits as the Commission
         shall fix, either party may file such other written statements as it deems
         useful and relevant.
              (2) Except as otherwise provided by the Commission after consul-
         tation with the parties and the Secretary-General, every written state-
         ment or other instrument shall be filed in the form of a signed original
         accompanied by additional copies whose number shall be two more
         than the number of members of the Commission.

                                       Rule 26
                              Supporting Documentation

                                                                                        Conciliation Rules
             (1) Every written statement or other instrument filed by a party
         may be accompanied by supporting documentation, in such form and
         number of copies as required by Administrative and Financial Regula-
         tion 30.
             (2) Supporting documentation shall ordinarily be filed together
         with the instrument to which it relates, and in any case within the time
         limit fixed for the filing of such instrument.

                                         Rule 27
                                         Hearings
             (1) The hearings of the Commission shall take place in private and,
         except as the parties otherwise agree, shall remain secret.
             (2) The Commission shall decide, with the consent of the parties,
         which other persons besides the parties, their agents, counsel and advo-


                                                                                  95
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 97 of 129
                        cates, witnesses and experts during their testimony, and officers of the
                        Commission may attend the hearings.

                                                      Rule 28
                                                Witnesses and Experts
                            (1) Each party may, at any stage of the proceeding, request that the
                        Commission hear the witnesses and experts whose evidence the party
                        considers relevant. The Commission shall fix a time limit within which
                        such hearing shall take place.
                            (2) Witnesses and experts shall, as a rule, be examined before the
                        Commission by the parties under the control of its President. Questions
                        may also be put to them by any member of the Commission.
                            (3) If a witness or expert is unable to appear before it, the Com-
                        mission, in agreement with the parties, may make appropriate arrange-
                        ments for the evidence to be given in a written deposition or to be taken
                        by examination elsewhere. The parties may participate in any such
                        examination.


                                                  Chapter V
                                        Termination of the Proceeding
                                                      Rule 29
                                             Objections to Jurisdiction
                             (1) Any objection that the dispute is not within the jurisdiction of
   Conciliation Rules




                        the Centre or, for other reasons, is not within the competence of the
                        Commission shall be made as early as possible. A party shall file the
                        objection with the Secretary-General no later than in its first written
                        statement or at the first hearing if that occurs earlier, unless the facts on
                        which the objection is based are unknown to the party at that time.
                             (2) The Commission may on its own initiative consider, at any
                        stage of the proceeding, whether the dispute before it is within the juris-
                        diction of the Centre and within its own competence.
                             (3) Upon the formal raising of an objection, the proceeding on the
                        merits shall be suspended. The Commission shall obtain the views of
                        the parties on the objection.
                             (4) The Commission may deal with the objection as a preliminary
                        question or join it to the merits of the dispute. If the Commission over-
                        rules the objection or joins it to the merits, it shall resume considera-
                        tion of the latter without delay.
                             (5) If the Commission decides that the dispute is not within the
                        jurisdiction of the Centre or not within its own competence, it shall

                        96
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 98 of 129
         close the proceeding and draw up a report to that effect, in which it shall
         state its reasons.

                                       Rule 30
                              Closure of the Proceeding
             (1) If the parties reach agreement on the issues in dispute, the
         Commission shall close the proceeding and draw up its report noting
         the issues in dispute and recording that the parties have reached agree-
         ment. At the request of the parties, the report shall record the detailed
         terms and conditions of their agreement.
             (2) If at any stage of the proceeding it appears to the Commission
         that there is no likelihood of agreement between the parties, the Com-
         mission shall, after notice to the parties, close the proceeding and draw
         up its report noting the submission of the dispute to conciliation and
         recording the failure of the parties to reach agreement.
             (3) If one party fails to appear or participate in the proceeding, the
         Commission shall, after notice to the parties, close the proceeding and
         draw up its report noting the submission of the dispute to conciliation
         and recording the failure of that party to appear or participate.

                                       Rule 31
                              Preparation of the Report
             The report of the Commission shall be drawn up and signed within
         60 days after the closure of the proceeding.

                                        Rule 32

                                                                                       Conciliation Rules
                                       The Report
             (1) The report shall be in writing and shall contain, in addition to
         the material specified in paragraph (2) and in Rule 30:
                 (a) a precise designation of each party;
                 (b) a statement that the Commission was established under the
                     Convention, and a description of the method of its consti-
                     tution;
                 (c) the names of the members of the Commission, and an
                     identification of the appointing authority of each;
                 (d) the names of the agents, counsel and advocates of the par-
                     ties;
                 (e) the dates and place of the sittings of the Commission; and
                 (f) a summary of the proceeding.



                                                                                 97
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 99 of 129
                             (2) The report shall also record any agreement of the parties, pur-
                        suant to Article 35 of the Convention, concerning the use in other pro-
                        ceedings of the views expressed or statements or admissions or offers of
                        settlement made in the proceeding before the Commission or of the
                        report or any recommendation made by the Commission.
                             (3) The report shall be signed by the members of the Commission;
                        the date of each signature shall be indicated. The fact that a member
                        refuses to sign the report shall be recorded therein.

                                                       Rule 33
                                                   Communication
                                                    of the Report
                            (1) Upon signature by the last conciliator to sign, the Secretary-
                        General shall promptly:
                                (a) authenticate the original text of the report and deposit it in
                                     the archives of the Centre; and
                                (b) dispatch a certified copy to each party, indicating the date
                                     of dispatch on the original text and on all copies.
                            (2) The Secretary-General shall, upon request, make available to a
                        party additional certified copies of the report.
                            (3) The Centre shall not publish the report without the consent of
                        the parties.


                                                  Chapter VI
   Conciliation Rules




                                               General Provisions
                                                       Rule 34
                                                   Final Provisions
                            (1) The texts of these Rules in each official language of the Centre
                        shall be equally authentic.
                            (2) These Rules may be cited as the “Conciliation Rules” of the
                        Centre.




                        98
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 100 of 129




                    RULES OF PROCEDURE
                      FOR ARBITRATION
                        PROCEEDINGS
                    (ARBITRATION RULES)




                                                                 Arbitration Rules




                                                           99
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 101 of 129
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 102 of 129

                             RULES OF PROCEDURE FOR
                             ARBITRATION PROCEEDINGS
                               (ARBITRATION RULES)

                                       Table of Contents
          Chapter   Rule                                                                                 Page

          I                Establishment of the Tribunal
                    1      General Obligations . . . . . . . . . . . . . . . . . . . . . . . . .         103
                    2      Method of Constituting the Tribunal
                           in the Absence of Previous Agreement . . . . . . . . . .                      104
                    3      Appointment of Arbitrators to a
                           Tribunal Constituted in Accordance
                           with Convention Article 37(2)(b) . . . . . . . . . . . . . .                  104
                    4      Appointment of Arbitrators by the
                           Chairman of the Administrative Council . . . . . . . .                        105
                    5      Acceptance of Appointments . . . . . . . . . . . . . . . . . .                106
                    6      Constitution of the Tribunal . . . . . . . . . . . . . . . . . .              106
                    7      Replacement of Arbitrators . . . . . . . . . . . . . . . . . . .              107
                    8      Incapacity or Resignation of Arbitrators . . . . . . . .                      107
                    9      Disqualification of Arbitrators . . . . . . . . . . . . . . . . .             107
                    10     Procedure during a Vacancy on the Tribunal . . . . .                          108
                    11     Filling Vacancies on the Tribunal . . . . . . . . . . . . . .                 108
                    12     Resumption of Proceeding after
                           Filling a Vacancy . . . . . . . . . . . . . . . . . . . . . . . . . . . .     109

          II               Working of the Tribunal
                    13     Sessions of the Tribunal . . . . . . . . . . . . . . . . . . . . . .          109
                    14     Sittings of the Tribunal . . . . . . . . . . . . . . . . . . . . . . .        110
                    15     Deliberations of the Tribunal . . . . . . . . . . . . . . . . . .             110
                    16     Decisions of the Tribunal . . . . . . . . . . . . . . . . . . . . .           110
                    17     Incapacity of the President . . . . . . . . . . . . . . . . . . . .           110
                                                                                                                Arbitration Rules




                    18     Representation of the Parties . . . . . . . . . . . . . . . . . .             110

          III              General Procedural Provisions
                    19     Procedural Orders . . . . . . . . . . . . . . . . . . . . . . . . . . .       111
                    20     Preliminary Procedural Consultation . . . . . . . . . . .                     111
                    21     Pre-Hearing Conference . . . . . . . . . . . . . . . . . . . . . .            111
                    22     Procedural Languages . . . . . . . . . . . . . . . . . . . . . . . .          112
                    23     Copies of Instruments . . . . . . . . . . . . . . . . . . . . . . .           112
                    24     Supporting Documentation . . . . . . . . . . . . . . . . . . .                112
                    25     Correction of Errors . . . . . . . . . . . . . . . . . . . . . . . . .        113
                    26     Time Limits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   113


                                                                                                         101
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 103 of 129
                              27   Waiver . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 113
                              28   Cost of Proceeding . . . . . . . . . . . . . . . . . . . . . . . . . . 113

                       IV          Written and Oral Procedures
                              29   Normal Procedures . . . . . . . . . . . . . . . . . . . . . . . . . .             114
                              30   Transmission of the Request . . . . . . . . . . . . . . . . . .                   114
                              31   The Written Procedure . . . . . . . . . . . . . . . . . . . . . . .               114
                              32   The Oral Procedure . . . . . . . . . . . . . . . . . . . . . . . . . .            115
                              33   Marshalling of Evidence . . . . . . . . . . . . . . . . . . . . . .               115
                              34   Evidence: General Principles . . . . . . . . . . . . . . . . . .                  115
                              35   Examination of Witnesses and Experts . . . . . . . . . .                          116
                              36   Witnesses and Experts: Special Rules . . . . . . . . . . .                        116
                              37   Visits and Inquiries; Submissions of
                                   Non-disputing Parties . . . . . . . . . . . . . . . . . . . . . . . .             117
                              38   Closure of the Proceeding . . . . . . . . . . . . . . . . . . . .                 117

                       V           Particular Procedures
                              39   Provisional Measures . . . . . . . . . . . . . . . . . . . . . . . .              118
                              40   Ancillary Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . .          118
                              41   Preliminary Objections . . . . . . . . . . . . . . . . . . . . . . .              119
                              42   Default . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   120
                              43   Settlement and Discontinuance . . . . . . . . . . . . . . . .                     120
                              44   Discontinuance at Request of a Party . . . . . . . . . . .                        121
                              45   Discontinuance for Failure of Parties to Act . . . . .                            121

                       VI          The Award
                              46   Preparation of the Award . . . . . . . . . . . . . . . . . . . . .                121
                              47   The Award . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       121
                              48   Rendering of the Award . . . . . . . . . . . . . . . . . . . . . .                122
                              49   Supplementary Decisions and Rectification . . . . . .                             123

                       VII         Interpretation, Revision and Annulment
                                   of the Award
                              50   The Application . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         124
                              51   Interpretation or Revision: Further Procedures . . .                              125
   Arbitration Rules




                              52   Annulment: Further Procedures . . . . . . . . . . . . . . .                       126
                              53   Rules of Procedure . . . . . . . . . . . . . . . . . . . . . . . . . .            126
                              54   Stay of Enforcement of the Award . . . . . . . . . . . . . .                      126
                              55   Resubmission of Dispute after an Annulment . . . .                                127

                       VIII        General Provisions
                              56   Final Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 128




                       102
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 104 of 129
              The Rules of Procedure for Arbitration Proceedings (the Arbitration
          Rules) of ICSID were adopted by the Administrative Council of the Centre
          pursuant to Article 6(1)(c) of the ICSID Convention.
              The Arbitration Rules are supplemented by the Administrative and
          Financial Regulations of the Centre, in particular by Regulations 14-16,
          22-31 and 34(1).
              The Arbitration Rules cover the period of time from the dispatch of the
          notice of registration of a request for arbitration until an award is rendered
          and all challenges possible to it under the Convention have been exhausted.
          The transactions previous to that time are to be regulated in accordance
          with the Institution Rules.


                                Arbitration Rules

                                    Chapter I
                          Establishment of the Tribunal
                                          Rule 1
                                    General Obligations
               (1) Upon notification of the registration of the request for arbitra-
          tion, the parties shall, with all possible dispatch, proceed to constitute a
          Tribunal, with due regard to Section 2 of Chapter IV of the Convention.
               (2) Unless such information is provided in the request, the parties
          shall communicate to the Secretary-General as soon as possible any
          provisions agreed by them regarding the number of arbitrators and the
          method of their appointment.
               (3) The majority of the arbitrators shall be nationals of States other
          than the State party to the dispute and of the State whose national is a
                                                                                           Arbitration Rules



          party to the dispute, unless the sole arbitrator or each individual
          member of the Tribunal is appointed by agreement of the parties.
          Where the Tribunal is to consist of three members, a national of either
          of these States may not be appointed as an arbitrator by a party without
          the agreement of the other party to the dispute. Where the Tribunal is
          to consist of five or more members, nationals of either of these States
          may not be appointed as arbitrators by a party if appointment by the
          other party of the same number of arbitrators of either of these nation-
          alities would result in a majority of arbitrators of these nationalities.
               (4) No person who had previously acted as a conciliator or arbitra-
          tor in any proceeding for the settlement of the dispute may be
          appointed as a member of the Tribunal.

                                                                                    103
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 105 of 129
                                                     Rule 2
                                             Method of Constituting
                                           the Tribunal in the Absence
                                             of Previous Agreement
                            (1) If the parties, at the time of the registration of the request for
                       arbitration, have not agreed upon the number of arbitrators and the
                       method of their appointment, they shall, unless they agree otherwise,
                       follow the following procedure:
                                (a) the requesting party shall, within 10 days after the registra-
                                     tion of the request, propose to the other party the appoint-
                                     ment of a sole arbitrator or of a specified uneven number
                                     of arbitrators and specify the method proposed for their
                                     appointment;
                                (b) within 20 days after receipt of the proposals made by the
                                     requesting party, the other party shall:
                                     (i) accept such proposals; or
                                     (ii) make other proposals regarding the number of arbi-
                                          trators and the method of their appointment;
                                (c) within 20 days after receipt of the reply containing any such
                                     other proposals, the requesting party shall notify the other
                                     party whether it accepts or rejects such proposals.
                            (2) The communications provided for in paragraph (1) shall be
                       made or promptly confirmed in writing and shall either be transmitted
                       through the Secretary-General or directly between the parties with a
                       copy to the Secretary-General. The parties shall promptly notify the
                       Secretary-General of the contents of any agreement reached.
                            (3) At any time 60 days after the registration of the request, if no
                       agreement on another procedure is reached, either party may inform
                       the Secretary-General that it chooses the formula provided for in Arti-
                       cle 37(2)(b) of the Convention. The Secretary-General shall thereupon
                       promptly inform the other party that the Tribunal is to be constituted
   Arbitration Rules




                       in accordance with that Article.

                                                    Rule 3
                                          Appointment of Arbitrators
                                   to a Tribunal Constituted in Accordance
                                      with Convention Article 37(2)(b)
                           (1) If the Tribunal is to be constituted in accordance with Article
                       37(2)(b) of the Convention:
                               (a) either party shall in a communication to the other party:


                       104
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 106 of 129
                      (i) name two persons, identifying one of them, who shall
                           not have the same nationality as nor be a national of
                           either party, as the arbitrator appointed by it, and the
                           other as the arbitrator proposed to be the President of
                           the Tribunal; and
                      (ii) invite the other party to concur in the appointment of
                           the arbitrator proposed to be the President of the Tri-
                           bunal and to appoint another arbitrator;
                  (b) promptly upon receipt of this communication the other
                      party shall, in its reply:
                      (i) name a person as the arbitrator appointed by it, who
                           shall not have the same nationality as nor be a national
                           of either party; and
                      (ii) concur in the appointment of the arbitrator proposed
                           to be the President of the Tribunal or name another
                           person as the arbitrator proposed to be President;
                  (c) promptly upon receipt of the reply containing such a pro-
                      posal, the initiating party shall notify the other party
                      whether it concurs in the appointment of the arbitrator
                      proposed by that party to be the President of the Tribunal.
              (2) The communications provided for in this Rule shall be made or
          promptly confirmed in writing and shall either be transmitted through
          the Secretary-General or directly between the parties with a copy to the
          Secretary-General.

                                        Rule 4
                              Appointment of Arbitrators
                                  by the Chairman of
                              the Administrative Council
              (1) If the Tribunal is not constituted within 90 days after the dis-
          patch by the Secretary-General of the notice of registration, or such
                                                                                        Arbitration Rules



          other period as the parties may agree, either party may, through the Sec-
          retary-General, address to the Chairman of the Administrative Council
          a request in writing to appoint the arbitrator or arbitrators not yet
          appointed and to designate an arbitrator to be the President of the Tri-
          bunal.
              (2) The provision of paragraph (1) shall apply mutatis mutandis in
          the event that the parties have agreed that the arbitrators shall elect the
          President of the Tribunal and they fail to do so.
              (3) The Secretary-General shall forthwith send a copy of the
          request to the other party.



                                                                                 105
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 107 of 129
                           (4) The Chairman shall use his best efforts to comply with that
                       request within 30 days after its receipt. Before he proceeds to make an
                       appointment or designation, with due regard to Articles 38 and 40(1) of
                       the Convention, he shall consult both parties as far as possible.
                           (5) The Secretary-General shall promptly notify the parties of any
                       appointment or designation made by the Chairman.

                                                    Rule 5
                                          Acceptance of Appointments
                            (1) The party or parties concerned shall notify the Secretary-Gen-
                       eral of the appointment of each arbitrator and indicate the method of
                       his appointment.
                            (2) As soon as the Secretary-General has been informed by a party
                       or the Chairman of the Administrative Council of the appointment of
                       an arbitrator, he shall seek an acceptance from the appointee.
                            (3) If an arbitrator fails to accept his appointment within 15 days,
                       the Secretary-General shall promptly notify the parties, and if appro-
                       priate the Chairman, and invite them to proceed to the appointment of
                       another arbitrator in accordance with the method followed for the pre-
                       vious appointment.

                                                      Rule 6
                                           Constitution of the Tribunal
                           (1) The Tribunal shall be deemed to be constituted and the pro-
                       ceeding to have begun on the date the Secretary-General notifies the
                       parties that all the arbitrators have accepted their appointment.
                           (2) Before or at the first session of the Tribunal, each arbitrator
                       shall sign a declaration in the following form:
                           “To the best of my knowledge there is no reason why I should not
                           serve on the Arbitral Tribunal constituted by the International
                           Centre for Settlement of Investment Disputes with respect to a dis-
   Arbitration Rules




                           pute between ___________________and___________________.
                           “I shall keep confidential all information coming to my knowledge
                           as a result of my participation in this proceeding, as well as the con-
                           tents of any award made by the Tribunal.
                           “I shall judge fairly as between the parties, according to the appli-
                           cable law, and shall not accept any instruction or compensation
                           with regard to the proceeding from any source except as provided
                           in the Convention on the Settlement of Investment Disputes
                           between States and Nationals of Other States and in the Regulations
                           and Rules made pursuant thereto.


                       106
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 108 of 129
               “Attached is a statement of (a) my past and present professional,
               business and other relationships (if any) with the parties and (b)
               any other circumstance that might cause my reliability for inde-
               pendent judgment to be questioned by a party. I acknowledge that
               by signing this declaration, I assume a continuing obligation
               promptly to notify the Secretary-General of the Centre of any
               such relationship or circumstance that subsequently arises during
               this proceeding.”
               Any arbitrator failing to sign a declaration by the end of the first
          session of the Tribunal shall be deemed to have resigned.

                                       Rule 7
                              Replacement of Arbitrators
              At any time before the Tribunal is constituted, each party may
          replace any arbitrator appointed by it and the parties may by common
          consent agree to replace any arbitrator. The procedure of such replace-
          ment shall be in accordance with Rules 1, 5 and 6.

                                        Rule 8
                               Incapacity or Resignation
                                    of Arbitrators
              (1) If an arbitrator becomes incapacitated or unable to perform the
          duties of his office, the procedure in respect of the disqualification of
          arbitrators set forth in Rule 9 shall apply.
              (2) An arbitrator may resign by submitting his resignation to the
          other members of the Tribunal and the Secretary-General. If the arbi-
          trator was appointed by one of the parties, the Tribunal shall promptly
          consider the reasons for his resignation and decide whether it consents
          thereto. The Tribunal shall promptly notify the Secretary-General of its
          decision.

                                        Rule 9
                                                                                        Arbitration Rules




                            Disqualification of Arbitrators
              (1) A party proposing the disqualification of an arbitrator pur-
          suant to Article 57 of the Convention shall promptly, and in any event
          before the proceeding is declared closed, file its proposal with the Sec-
          retary-General, stating its reasons therefor.
              (2) The Secretary-General shall forthwith:
                  (a) transmit the proposal to the members of the Tribunal and,
                      if it relates to a sole arbitrator or to a majority of the mem-
                      bers of the Tribunal, to the Chairman of the Administrative
                      Council; and

                                                                                 107
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 109 of 129
                                (b) notify the other party of the proposal.
                            (3) The arbitrator to whom the proposal relates may, without
                       delay, furnish explanations to the Tribunal or the Chairman, as the case
                       may be.
                            (4) Unless the proposal relates to a majority of the members of the
                       Tribunal, the other members shall promptly consider and vote on the
                       proposal in the absence of the arbitrator concerned. If those members
                       are equally divided, they shall, through the Secretary-General, promptly
                       notify the Chairman of the proposal, of any explanation furnished by
                       the arbitrator concerned and of their failure to reach a decision.
                            (5) Whenever the Chairman has to decide on a proposal to dis-
                       qualify an arbitrator, he shall use his best efforts to take that decision
                       within 30 days after he has received the proposal.
                            (6) The proceeding shall be suspended until a decision has been
                       taken on the proposal.

                                                     Rule 10
                                           Procedure during a Vacancy
                                                 on the Tribunal
                            (1) The Secretary-General shall forthwith notify the parties and, if
                       necessary, the Chairman of the Administrative Council of the disquali-
                       fication, death, incapacity or resignation of an arbitrator and of the
                       consent, if any, of the Tribunal to a resignation.
                            (2) Upon the notification by the Secretary-General of a vacancy on
                       the Tribunal, the proceeding shall be or remain suspended until the
                       vacancy has been filled.

                                                      Rule 11
                                                 Filling Vacancies
                                                  on the Tribunal
                           (1) Except as provided in paragraph (2), a vacancy resulting from
   Arbitration Rules




                       the disqualification, death, incapacity or resignation of an arbitrator
                       shall be promptly filled by the same method by which his appointment
                       had been made.
                           (2) In addition to filling vacancies relating to arbitrators appointed
                       by him, the Chairman of the Administrative Council shall appoint a
                       person from the Panel of Arbitrators:
                                (a) to fill a vacancy caused by the resignation, without the con-
                                    sent of the Tribunal, of an arbitrator appointed by a party;
                                    or



                       108
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 110 of 129
                   (b) at the request of either party, to fill any other vacancy, if no
                       new appointment is made and accepted within 45 days of
                       the notification of the vacancy by the Secretary-General.
              (3) The procedure for filling a vacancy shall be in accordance with
          Rules 1, 4(4), 4(5), 5 and, mutatis mutandis, 6(2).

                                    Rule 12
                 Resumption of Proceeding after Filling a Vacancy
              As soon as a vacancy on the Tribunal has been filled, the proceed-
          ing shall continue from the point it had reached at the time the vacancy
          occurred. The newly appointed arbitrator may, however, require that
          the oral procedure be recommenced, if this had already been started.


                                    Chapter II
                              Working of the Tribunal
                                         Rule 13
                                 Sessions of the Tribunal
               (1) The Tribunal shall hold its first session within 60 days after its
          constitution or such other period as the parties may agree. The dates of
          that session shall be fixed by the President of the Tribunal after consul-
          tation with its members and the Secretary-General. If upon its consti-
          tution the Tribunal has no President because the parties have agreed
          that the President shall be elected by its members, the Secretary-General
          shall fix the dates of that session. In both cases, the parties shall be con-
          sulted as far as possible.
               (2) The dates of subsequent sessions shall be determined by the
          Tribunal, after consultation with the Secretary-General and with the
          parties as far as possible.
               (3) The Tribunal shall meet at the seat of the Centre or at such
                                                                                          Arbitration Rules




          other place as may have been agreed by the parties in accordance with
          Article 63 of the Convention. If the parties agree that the proceeding
          shall be held at a place other than the Centre or an institution with
          which the Centre has made the necessary arrangements, they shall con-
          sult with the Secretary-General and request the approval of the Tri-
          bunal. Failing such approval, the Tribunal shall meet at the seat of the
          Centre.
               (4) The Secretary-General shall notify the members of the Tribunal
          and the parties of the dates and place of the sessions of the Tribunal in
          good time.


                                                                                   109
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 111 of 129
                                                     Rule 14
                                             Sittings of the Tribunal
                            (1) The President of the Tribunal shall conduct its hearings and
                       preside at its deliberations.
                            (2) Except as the parties otherwise agree, the presence of a major-
                       ity of the members of the Tribunal shall be required at its sittings.
                            (3) The President of the Tribunal shall fix the date and hour of its
                       sittings.

                                                     Rule 15
                                          Deliberations of the Tribunal
                           (1) The deliberations of the Tribunal shall take place in private and
                       remain secret.
                           (2) Only members of the Tribunal shall take part in its delibera-
                       tions. No other person shall be admitted unless the Tribunal decides
                       otherwise.

                                                    Rule 16
                                            Decisions of the Tribunal
                           (1) Decisions of the Tribunal shall be taken by a majority of the
                       votes of all its members. Abstention shall count as a negative vote.
                           (2) Except as otherwise provided by these Rules or decided by the
                       Tribunal, it may take any decision by correspondence among its mem-
                       bers, provided that all of them are consulted. Decisions so taken shall be
                       certified by the President of the Tribunal.

                                                     Rule 17
                                           Incapacity of the President
                            If at any time the President of the Tribunal should be unable to act,
   Arbitration Rules




                       his functions shall be performed by one of the other members of the
                       Tribunal, acting in the order in which the Secretary-General had
                       received the notice of their acceptance of their appointment to the
                       Tribunal.

                                                   Rule 18
                                         Representation of the Parties
                           (1) Each party may be represented or assisted by agents, counsel or
                       advocates whose names and authority shall be notified by that party to
                       the Secretary-General, who shall promptly inform the Tribunal and the
                       other party.
                       110
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 112 of 129
              (2) For the purposes of these Rules, the expression “party”
          includes, where the context so admits, an agent, counsel or advocate
          authorized to represent that party.


                                   Chapter III
                          General Procedural Provisions
                                          Rule 19
                                     Procedural Orders
              The Tribunal shall make the orders required for the conduct of the
          proceeding.

                                       Rule 20
                         Preliminary Procedural Consultation
              (1) As early as possible after the constitution of a Tribunal, its Pres-
          ident shall endeavor to ascertain the views of the parties regarding ques-
          tions of procedure. For this purpose he may request the parties to meet
          him. He shall, in particular, seek their views on the following matters:
                   (a) the number of members of the Tribunal required to consti-
                       tute a quorum at its sittings;
                   (b) the language or languages to be used in the proceeding;
                   (c) the number and sequence of the pleadings and the time
                       limits within which they are to be filed;
                   (d) the number of copies desired by each party of instruments
                       filed by the other;
                   (e) dispensing with the written or the oral procedure;
                   (f) the manner in which the cost of the proceeding is to be
                       apportioned; and
                   (g) the manner in which the record of the hearings shall be
                                                                                         Arbitration Rules




                       kept.
              (2) In the conduct of the proceeding the Tribunal shall apply any
          agreement between the parties on procedural matters, except as other-
          wise provided in the Convention or the Administrative and Financial
          Regulations.

                                        Rule 21
                                 Pre-Hearing Conference
              (1) At the request of the Secretary-General or at the discretion of
          the President of the Tribunal, a pre-hearing conference between the Tri-

                                                                                  111
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 113 of 129
                       bunal and the parties may be held to arrange for an exchange of infor-
                       mation and the stipulation of uncontested facts in order to expedite the
                       proceeding.
                           (2) At the request of the parties, a pre-hearing conference between
                       the Tribunal and the parties, duly represented by their authorized rep-
                       resentatives, may be held to consider the issues in dispute with a view to
                       reaching an amicable settlement.

                                                     Rule 22
                                               Procedural Languages
                            (1) The parties may agree on the use of one or two languages to be
                       used in the proceeding, provided, that, if they agree on any language
                       that is not an official language of the Centre, the Tribunal, after consul-
                       tation with the Secretary-General, gives its approval. If the parties do
                       not agree on any such procedural language, each of them may select one
                       of the official languages (i.e., English, French and Spanish) for this
                       purpose.
                            (2) If two procedural languages are selected by the parties, any
                       instrument may be filed in either language. Either language may be used
                       at the hearings, subject, if the Tribunal so requires, to translation and
                       interpretation. The orders and the award of the Tribunal shall be ren-
                       dered and the record kept in both procedural languages, both versions
                       being equally authentic.

                                                     Rule 23
                                              Copies of Instruments
                           Except as otherwise provided by the Tribunal after consultation
                       with the parties and the Secretary-General, every request, pleading,
                       application, written observation, supporting documentation, if any, or
                       other instrument shall be filed in the form of a signed original accom-
                       panied by the following number of additional copies:
                               (a) before the number of members of the Tribunal has been
   Arbitration Rules




                                    determined: five;
                               (b) after the number of members of the Tribunal has been
                                    determined: two more than the number of its members.

                                                    Rule 24
                                           Supporting Documentation
                            Supporting documentation shall ordinarily be filed together with
                       the instrument to which it relates, and in any case within the time limit
                       fixed for the filing of such instrument.


                       112
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 114 of 129
                                         Rule 25
                                   Correction of Errors
              An accidental error in any instrument or supporting document
          may, with the consent of the other party or by leave of the Tribunal, be
          corrected at any time before the award is rendered.

                                          Rule 26
                                        Time Limits
               (1) Where required, time limits shall be fixed by the Tribunal by
          assigning dates for the completion of the various steps in the proceed-
          ing. The Tribunal may delegate this power to its President.
               (2) The Tribunal may extend any time limit that it has fixed. If the
          Tribunal is not in session, this power shall be exercised by its President.
               (3) Any step taken after expiration of the applicable time limit shall
          be disregarded unless the Tribunal, in special circumstances and after
          giving the other party an opportunity of stating its views, decides
          otherwise.

                                          Rule 27
                                          Waiver
               A party which knows or should have known that a provision of the
          Administrative and Financial Regulations, of these Rules, of any other
          rules or agreement applicable to the proceeding, or of an order of the
          Tribunal has not been complied with and which fails to state promptly
          its objections thereto, shall be deemed—subject to Article 45 of the
          Convention—to have waived its right to object.

                                        Rule 28
                                   Cost of Proceeding
              (1) Without prejudice to the final decision on the payment of the
                                                                                        Arbitration Rules




          cost of the proceeding, the Tribunal may, unless otherwise agreed by the
          parties, decide:
                   (a) at any stage of the proceeding, the portion which each
                       party shall pay, pursuant to Administrative and Financial
                       Regulation 14, of the fees and expenses of the Tribunal and
                       the charges for the use of the facilities of the Centre;
                   (b) with respect to any part of the proceeding, that the related
                       costs (as determined by the Secretary-General) shall be
                       borne entirely or in a particular share by one of the parties.



                                                                                 113
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 115 of 129
                           (2) Promptly after the closure of the proceeding, each party shall
                       submit to the Tribunal a statement of costs reasonably incurred or
                       borne by it in the proceeding and the Secretary-General shall submit to
                       the Tribunal an account of all amounts paid by each party to the Centre
                       and of all costs incurred by the Centre for the proceeding. The Tribunal
                       may, before the award has been rendered, request the parties and the
                       Secretary-General to provide additional information concerning the
                       cost of the proceeding.


                                               Chapter IV
                                       Written and Oral Procedures
                                                    Rule 29
                                                Normal Procedures
                           Except if the parties otherwise agree, the proceeding shall comprise
                       two distinct phases: a written procedure followed by an oral one.

                                                    Rule 30
                                          Transmission of the Request
                            As soon as the Tribunal is constituted, the Secretary-General shall
                       transmit to each member a copy of the request by which the proceed-
                       ing was initiated, of the supporting documentation, of the notice of reg-
                       istration and of any communication received from either party in
                       response thereto.

                                                     Rule 31
                                              The Written Procedure
                           (1) In addition to the request for arbitration, the written procedure
                       shall consist of the following pleadings, filed within time limits set by
                       the Tribunal:
   Arbitration Rules




                                (a) a memorial by the requesting party;
                                (b) a counter-memorial by the other party;
                       and, if the parties so agree or the Tribunal deems it necessary:
                                (c) a reply by the requesting party; and
                                (d) a rejoinder by the other party.
                           (2) If the request was made jointly, each party shall, within the
                       same time limit determined by the Tribunal, file its memorial and, if the
                       parties so agree or the Tribunal deems it necessary, its reply; however,



                       114
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 116 of 129
          the parties may instead agree that one of them shall, for the purposes of
          paragraph (1), be considered as the requesting party.
               (3) A memorial shall contain: a statement of the relevant facts; a
          statement of law; and the submissions. A counter-memorial, reply or
          rejoinder shall contain an admission or denial of the facts stated in the
          last previous pleading; any additional facts, if necessary; observations
          concerning the statement of law in the last previous pleading; a state-
          ment of law in answer thereto; and the submissions.

                                        Rule 32
                                   The Oral Procedure
               (1) The oral procedure shall consist of the hearing by the Tribunal
          of the parties, their agents, counsel and advocates, and of witnesses and
          experts.
               (2) Unless either party objects, the Tribunal, after consultation
          with the Secretary-General, may allow other persons, besides the par-
          ties, their agents, counsel and advocates, witnesses and experts during
          their testimony, and officers of the Tribunal, to attend or observe all or
          part of the hearings, subject to appropriate logistical arrangements. The
          Tribunal shall for such cases establish procedures for the protection of
          proprietary or privileged information.
               (3) The members of the Tribunal may, during the hearings, put
          questions to the parties, their agents, counsel and advocates, and ask
          them for explanations.

                                        Rule 33
                                Marshalling of Evidence
               Without prejudice to the rules concerning the production of docu-
          ments, each party shall, within time limits fixed by the Tribunal, com-
          municate to the Secretary-General, for transmission to the Tribunal and
          the other party, precise information regarding the evidence which it
          intends to produce and that which it intends to request the Tribunal to
                                                                                       Arbitration Rules




          call for, together with an indication of the points to which such evi-
          dence will be directed.

                                       Rule 34
                             Evidence: General Principles
              (1) The Tribunal shall be the judge of the admissibility of any evi-
          dence adduced and of its probative value.
              (2) The Tribunal may, if it deems it necessary at any stage of the
          proceeding:


                                                                                115
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 117 of 129
                                (a) call upon the parties to produce documents, witnesses and
                                    experts; and
                                (b) visit any place connected with the dispute or conduct
                                    inquiries there.
                           (3) The parties shall cooperate with the Tribunal in the production
                       of the evidence and in the other measures provided for in paragraph
                       (2). The Tribunal shall take formal note of the failure of a party to
                       comply with its obligations under this paragraph and of any reasons
                       given for such failure.
                           (4) Expenses incurred in producing evidence and in taking other
                       measures in accordance with paragraph (2) shall be deemed to consti-
                       tute part of the expenses incurred by the parties within the meaning of
                       Article 61(2) of the Convention.

                                                   Rule 35
                                     Examination of Witnesses and Experts
                            (1) Witnesses and experts shall be examined before the Tribunal by
                       the parties under the control of its President. Questions may also be put
                       to them by any member of the Tribunal.
                            (2) Each witness shall make the following declaration before giving
                       his evidence:
                            “I solemnly declare upon my honour and conscience that I shall
                            speak the truth, the whole truth and nothing but the truth.”
                            (3) Each expert shall make the following declaration before making
                       his statement:
                            “I solemnly declare upon my honour and conscience that my state-
                            ment will be in accordance with my sincere belief.”

                                                   Rule 36
                                      Witnesses and Experts: Special Rules
   Arbitration Rules




                             Notwithstanding Rule 35 the Tribunal may:
                                (a) admit evidence given by a witness or expert in a written
                                    deposition; and
                                (b) with the consent of both parties, arrange for the examina-
                                    tion of a witness or expert otherwise than before the Tri-
                                    bunal itself. The Tribunal shall define the subject of the
                                    examination, the time limit, the procedure to be followed
                                    and other particulars. The parties may participate in the
                                    examination.



                       116
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 118 of 129
                                       Rule 37
                                Visits and Inquiries;
                        Submissions of Non-disputing Parties
              (1) If the Tribunal considers it necessary to visit any place con-
          nected with the dispute or to conduct an inquiry there, it shall make an
          order to this effect. The order shall define the scope of the visit or the
          subject of the inquiry, the time limit, the procedure to be followed and
          other particulars. The parties may participate in any visit or inquiry.
              (2) After consulting both parties, the Tribunal may allow a person
          or entity that is not a party to the dispute (in this Rule called the “non-
          disputing party”) to file a written submission with the Tribunal regard-
          ing a matter within the scope of the dispute. In determining whether to
          allow such a filing, the Tribunal shall consider, among other things, the
          extent to which:
                   (a) the non-disputing party submission would assist the Tri-
                       bunal in the determination of a factual or legal issue related
                       to the proceeding by bringing a perspective, particular
                       knowledge or insight that is different from that of the dis-
                       puting parties;
                   (b) the non-disputing party submission would address a
                       matter within the scope of the dispute;
                   (c) the non-disputing party has a significant interest in the
                       proceeding.
              The Tribunal shall ensure that the non-disputing party submission
          does not disrupt the proceeding or unduly burden or unfairly prejudice
          either party, and that both parties are given an opportunity to present
          their observations on the non-disputing party submission.

                                        Rule 38
                               Closure of the Proceeding
               (1) When the presentation of the case by the parties is completed,
                                                                                        Arbitration Rules




          the proceeding shall be declared closed.
               (2) Exceptionally, the Tribunal may, before the award has been ren-
          dered, reopen the proceeding on the ground that new evidence is forth-
          coming of such a nature as to constitute a decisive factor, or that there
          is a vital need for clarification on certain specific points.




                                                                                 117
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 119 of 129
                                                   Chapter V
                                             Particular Procedures
                                                      Rule 39
                                               Provisional Measures
                           (1) At any time after the institution of the proceeding, a party may
                       request that provisional measures for the preservation of its rights be
                       recommended by the Tribunal. The request shall specify the rights to be
                       preserved, the measures the recommendation of which is requested,
                       and the circumstances that require such measures.
                           (2) The Tribunal shall give priority to the consideration of a
                       request made pursuant to paragraph (1).
                           (3) The Tribunal may also recommend provisional measures on its
                       own initiative or recommend measures other than those specified in a
                       request. It may at any time modify or revoke its recommendations.
                           (4) The Tribunal shall only recommend provisional measures, or
                       modify or revoke its recommendations, after giving each party an
                       opportunity of presenting its observations.
                           (5) If a party makes a request pursuant to paragraph (1) before the
                       constitution of the Tribunal, the Secretary-General shall, on the appli-
                       cation of either party, fix time limits for the parties to present observa-
                       tions on the request, so that the request and observations may be
                       considered by the Tribunal promptly upon its constitution.
                           (6) Nothing in this Rule shall prevent the parties, provided that
                       they have so stipulated in the agreement recording their consent, from
                       requesting any judicial or other authority to order provisional meas-
                       ures, prior to or after the institution of the proceeding, for the preser-
                       vation of their respective rights and interests.

                                                      Rule 40
                                                  Ancillary Claims
   Arbitration Rules




                           (1) Except as the parties otherwise agree, a party may present an
                       incidental or additional claim or counter-claim arising directly out of
                       the subject-matter of the dispute, provided that such ancillary claim is
                       within the scope of the consent of the parties and is otherwise within
                       the jurisdiction of the Centre.
                           (2) An incidental or additional claim shall be presented not later
                       than in the reply and a counter-claim no later than in the counter-
                       memorial, unless the Tribunal, upon justification by the party present-
                       ing the ancillary claim and upon considering any objection of the other
                       party, authorizes the presentation of the claim at a later stage in the
                       proceeding.

                       118
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 120 of 129
              (3) The Tribunal shall fix a time limit within which the party
          against which an ancillary claim is presented may file its observations
          thereon.

                                        Rule 41
                                 Preliminary Objections
               (1) Any objection that the dispute or any ancillary claim is not
          within the jurisdiction of the Centre or, for other reasons, is not within
          the competence of the Tribunal shall be made as early as possible. A
          party shall file the objection with the Secretary-General no later than
          the expiration of the time limit fixed for the filing of the counter-
          memorial, or, if the objection relates to an ancillary claim, for the filing
          of the rejoinder—unless the facts on which the objection is based are
          unknown to the party at that time.
               (2) The Tribunal may on its own initiative consider, at any stage of
          the proceeding, whether the dispute or any ancillary claim before it is
          within the jurisdiction of the Centre and within its own competence.
               (3) Upon the formal raising of an objection relating to the dispute,
          the Tribunal may decide to suspend the proceeding on the merits. The
          President of the Tribunal, after consultation with its other members,
          shall fix a time limit within which the parties may file observations on
          the objection.
               (4) The Tribunal shall decide whether or not the further proce-
          dures relating to the objection made pursuant to paragraph (1) shall be
          oral. It may deal with the objection as a preliminary question or join it
          to the merits of the dispute. If the Tribunal overrules the objection or
          joins it to the merits, it shall once more fix time limits for the further
          procedures.
               (5) Unless the parties have agreed to another expedited procedure
          for making preliminary objections, a party may, no later than 30 days
          after the constitution of the Tribunal, and in any event before the first
          session of the Tribunal, file an objection that a claim is manifestly with-
                                                                                         Arbitration Rules



          out legal merit. The party shall specify as precisely as possible the basis
          for the objection. The Tribunal, after giving the parties the opportunity
          to present their observations on the objection, shall, at its first session
          or promptly thereafter, notify the parties of its decision on the objec-
          tion. The decision of the Tribunal shall be without prejudice to the right
          of a party to file an objection pursuant to paragraph (1) or to object, in
          the course of the proceeding, that a claim lacks legal merit.
               (6) If the Tribunal decides that the dispute is not within the juris-
          diction of the Centre or not within its own competence, or that all
          claims are manifestly without legal merit, it shall render an award to
          that effect.


                                                                                  119
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 121 of 129
                                                        Rule 42
                                                        Default
                            (1) If a party (in this Rule called the “defaulting party”) fails to
                       appear or to present its case at any stage of the proceeding, the other
                       party may, at any time prior to the discontinuance of the proceeding,
                       request the Tribunal to deal with the questions submitted to it and to
                       render an award.
                            (2) The Tribunal shall promptly notify the defaulting party of such
                       a request. Unless it is satisfied that that party does not intend to appear
                       or to present its case in the proceeding, it shall, at the same time, grant
                       a period of grace and to this end:
                                (a) if that party had failed to file a pleading or any other instru-
                                    ment within the time limit fixed therefor, fix a new time
                                    limit for its filing; or
                                (b) if that party had failed to appear or present its case at a
                                    hearing, fix a new date for the hearing.
                            The period of grace shall not, without the consent of the other
                       party, exceed 60 days.
                            (3) After the expiration of the period of grace or when, in accor-
                       dance with paragraph (2), no such period is granted, the Tribunal shall
                       resume the consideration of the dispute. Failure of the defaulting party
                       to appear or to present its case shall not be deemed an admission of the
                       assertions made by the other party.
                            (4) The Tribunal shall examine the jurisdiction of the Centre and
                       its own competence in the dispute and, if it is satisfied, decide whether
                       the submissions made are well-founded in fact and in law. To this end,
                       it may, at any stage of the proceeding, call on the party appearing to file
                       observations, produce evidence or submit oral explanations.

                                                    Rule 43
                                         Settlement and Discontinuance
   Arbitration Rules




                            (1) If, before the award is rendered, the parties agree on a settle-
                       ment of the dispute or otherwise to discontinue the proceeding, the Tri-
                       bunal, or the Secretary-General if the Tribunal has not yet been
                       constituted, shall, at their written request, in an order take note of the
                       discontinuance of the proceeding.
                            (2) If the parties file with the Secretary-General the full and signed
                       text of their settlement and in writing request the Tribunal to embody
                       such settlement in an award, the Tribunal may record the settlement in
                       the form of its award.



                       120
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 122 of 129
                                      Rule 44
                        Discontinuance at Request of a Party
               If a party requests the discontinuance of the proceeding, the Tri-
          bunal, or the Secretary-General if the Tribunal has not yet been consti-
          tuted, shall in an order fix a time limit within which the other party may
          state whether it opposes the discontinuance. If no objection is made in
          writing within the time limit, the other party shall be deemed to have
          acquiesced in the discontinuance and the Tribunal, or if appropriate the
          Secretary-General, shall in an order take note of the discontinuance of
          the proceeding. If objection is made, the proceeding shall continue.

                                        Rule 45
                               Discontinuance for Failure
                                    of Parties to Act
               If the parties fail to take any steps in the proceeding during six con-
          secutive months or such period as they may agree with the approval of
          the Tribunal, or of the Secretary-General if the Tribunal has not yet
          been constituted, they shall be deemed to have discontinued the pro-
          ceeding and the Tribunal, or if appropriate the Secretary-General, shall,
          after notice to the parties, in an order take note of the discontinuance.


                                        Chapter VI
                                        The Award
                                        Rule 46
                                Preparation of the Award
             The award (including any individual or dissenting opinion) shall be
          drawn up and signed within 120 days after closure of the proceeding.
          The Tribunal may, however, extend this period by a further 60 days if it
          would otherwise be unable to draw up the award.
                                                                                         Arbitration Rules




                                          Rule 47
                                         The Award
              (1) The award shall be in writing and shall contain:
                  (a) a precise designation of each party;
                  (b) a statement that the Tribunal was established under the
                      Convention, and a description of the method of its consti-
                      tution;



                                                                                  121
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 123 of 129
                               (c) the name of each member of the Tribunal, and an identifi-
                                     cation of the appointing authority of each;
                               (d) the names of the agents, counsel and advocates of the
                                     parties;
                               (e) the dates and place of the sittings of the Tribunal;
                               (f) a summary of the proceeding;
                               (g) a statement of the facts as found by the Tribunal;
                               (h) the submissions of the parties;
                               (i) the decision of the Tribunal on every question submitted to
                                     it, together with the reasons upon which the decision is
                                     based; and
                               (j) any decision of the Tribunal regarding the cost of the
                                     proceeding.
                           (2) The award shall be signed by the members of the Tribunal who
                       voted for it; the date of each signature shall be indicated.
                           (3) Any member of the Tribunal may attach his individual opinion
                       to the award, whether he dissents from the majority or not, or a state-
                       ment of his dissent.

                                                    Rule 48
                                             Rendering of the Award
                           (1) Upon signature by the last arbitrator to sign, the Secretary-
                       General shall promptly:
                               (a) authenticate the original text of the award and deposit it in
                                    the archives of the Centre, together with any individual
                                    opinions and statements of dissent; and
                               (b) dispatch a certified copy of the award (including individual
                                    opinions and statements of dissent) to each party, indicat-
                                    ing the date of dispatch on the original text and on all
                                    copies.
   Arbitration Rules




                           (2) The award shall be deemed to have been rendered on the date
                       on which the certified copies were dispatched.
                           (3) The Secretary-General shall, upon request, make available to a
                       party additional certified copies of the award.
                           (4) The Centre shall not publish the award without the consent of
                       the parties. The Centre shall, however, promptly include in its publica-
                       tions excerpts of the legal reasoning of the Tribunal.




                       122
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 124 of 129
                                    Rule 49
                    Supplementary Decisions and Rectification
              (1) Within 45 days after the date on which the award was rendered,
          either party may request, pursuant to Article 49(2) of the Convention,
          a supplementary decision on, or the rectification of, the award. Such a
          request shall be addressed in writing to the Secretary-General. The
          request shall:
                   (a) identify the award to which it relates;
                   (b) indicate the date of the request;
                   (c) state in detail:
                       (i) any question which, in the opinion of the requesting
                            party, the Tribunal omitted to decide in the award; and
                       (ii) any error in the award which the requesting party
                            seeks to have rectified; and
                   (d) be accompanied by a fee for lodging the request.
              (2) Upon receipt of the request and of the lodging fee, the Secre-
          tary-General shall forthwith:
                   (a) register the request;
                   (b) notify the parties of the registration;
                   (c) transmit to the other party a copy of the request and of any
                       accompanying documentation; and
                   (d) transmit to each member of the Tribunal a copy of the
                       notice of registration, together with a copy of the request
                       and of any accompanying documentation.
              (3) The President of the Tribunal shall consult the members on
          whether it is necessary for the Tribunal to meet in order to consider the
          request. The Tribunal shall fix a time limit for the parties to file their
          observations on the request and shall determine the procedure for its
          consideration.
              (4) Rules 46-48 shall apply, mutatis mutandis, to any decision of the
                                                                                       Arbitration Rules




          Tribunal pursuant to this Rule.
              (5) If a request is received by the Secretary-General more than 45
          days after the award was rendered, he shall refuse to register the request
          and so inform forthwith the requesting party.




                                                                                123
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 125 of 129
                                               Chapter VII
                                       Interpretation, Revision and
                                         Annulment of the Award
                                                      Rule 50
                                                  The Application
                           (1) An application for the interpretation, revision or annulment of
                       an award shall be addressed in writing to the Secretary-General and
                       shall:
                               (a) identify the award to which it relates;
                               (b) indicate the date of the application;
                               (c) state in detail:
                                    (i) in an application for interpretation, the precise points
                                          in dispute;
                                    (ii) in an application for revision, pursuant to Article
                                          51(1) of the Convention, the change sought in the
                                          award, the discovery of some fact of such a nature as
                                          decisively to affect the award, and evidence that when
                                          the award was rendered that fact was unknown to the
                                          Tribunal and to the applicant, and that the applicant’s
                                          ignorance of that fact was not due to negligence;
                                    (iii) in an application for annulment, pursuant to Article
                                          52(1) of the Convention, the grounds on which it is
                                          based. These grounds are limited to the following:
                                          – that the Tribunal was not properly constituted;
                                          – that the Tribunal has manifestly exceeded its powers;
                                          – that there was corruption on the part of a member
                                            of the Tribunal;
                                          – that there has been a serious departure from a fun-
                                            damental rule of procedure;
   Arbitration Rules




                                          – that the award has failed to state the reasons on
                                            which it is based;
                               (d) be accompanied by the payment of a fee for lodging the
                                    application.
                           (2) Without prejudice to the provisions of paragraph (3), upon
                       receiving an application and the lodging fee, the Secretary-General shall
                       forthwith:
                               (a) register the application;
                               (b) notify the parties of the registration; and


                       124
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 126 of 129
                   (c) transmit to the other party a copy of the application and of
                        any accompanying documentation.
               (3) The Secretary-General shall refuse to register an application for:
                   (a) revision, if, in accordance with Article 51(2) of the Con-
                        vention, it is not made within 90 days after the discovery of
                        the new fact and in any event within three years after the
                        date on which the award was rendered (or any subsequent
                        decision or correction);
                   (b) annulment, if, in accordance with Article 52(2) of the Con-
                        vention, it is not made:
                        (i) within 120 days after the date on which the award was
                             rendered (or any subsequent decision or correction) if
                             the application is based on any of the following
                             grounds:
                             – the Tribunal was not properly constituted;
                             – the Tribunal has manifestly exceeded its powers;
                             – there has been a serious departure from a funda-
                                mental rule of procedure;
                             – the award has failed to state the reasons on which it
                                is based;
                        (ii) in the case of corruption on the part of a member of
                             the Tribunal, within 120 days after discovery thereof,
                             and in any event within three years after the date on
                             which the award was rendered (or any subsequent
                             decision or correction).
               (4) If the Secretary-General refuses to register an application for
          revision, or annulment, he shall forthwith notify the requesting party of
          his refusal.

                                       Rule 51
                              Interpretation or Revision:
                                                                                        Arbitration Rules




                                  Further Procedures
              (1) Upon registration of an application for the interpretation or
          revision of an award, the Secretary-General shall forthwith:
                  (a) transmit to each member of the original Tribunal a copy of
                       the notice of registration, together with a copy of the appli-
                       cation and of any accompanying documentation; and
                  (b) request each member of the Tribunal to inform him within
                       a specified time limit whether that member is willing to
                       take part in the consideration of the application.


                                                                                 125
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 127 of 129
                           (2) If all members of the Tribunal express their willingness to take
                       part in the consideration of the application, the Secretary-General shall
                       so notify the members of the Tribunal and the parties. Upon dispatch
                       of these notices the Tribunal shall be deemed to be reconstituted.
                           (3) If the Tribunal cannot be reconstituted in accordance with
                       paragraph (2), the Secretary-General shall so notify the parties and
                       invite them to proceed, as soon as possible, to constitute a new Tribunal,
                       including the same number of arbitrators, and appointed by the same
                       method, as the original one.

                                                   Rule 52
                                         Annulment: Further Procedures
                           (1) Upon registration of an application for the annulment of an
                       award, the Secretary-General shall forthwith request the Chairman of
                       the Administrative Council to appoint an ad hoc Committee in accor-
                       dance with Article 52(3) of the Convention.
                           (2) The Committee shall be deemed to be constituted on the date
                       the Secretary-General notifies the parties that all members have
                       accepted their appointment. Before or at the first session of the Com-
                       mittee, each member shall sign a declaration conforming to that set
                       forth in Rule 6(2).

                                                     Rule 53
                                                Rules of Procedure
                           The provisions of these Rules shall apply mutatis mutandis to any
                       procedure relating to the interpretation, revision or annulment of an
                       award and to the decision of the Tribunal or Committee.

                                                      Rule 54
                                               Stay of Enforcement
                                                   of the Award
   Arbitration Rules




                           (1) The party applying for the interpretation, revision or annul-
                       ment of an award may in its application, and either party may at any
                       time before the final disposition of the application, request a stay in the
                       enforcement of part or all of the award to which the application relates.
                       The Tribunal or Committee shall give priority to the consideration of
                       such a request.
                           (2) If an application for the revision or annulment of an award
                       contains a request for a stay of its enforcement, the Secretary-General
                       shall, together with the notice of registration, inform both parties of the
                       provisional stay of the award. As soon as the Tribunal or Committee is
                       constituted it shall, if either party requests, rule within 30 days on

                       126
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 128 of 129
          whether such stay should be continued; unless it decides to continue the
          stay, it shall automatically be terminated.
               (3) If a stay of enforcement has been granted pursuant to para-
          graph (1) or continued pursuant to paragraph (2), the Tribunal or
          Committee may at any time modify or terminate the stay at the request
          of either party. All stays shall automatically terminate on the date on
          which a final decision is rendered on the application, except that a
          Committee granting the partial annulment of an award may order the
          temporary stay of enforcement of the unannulled portion in order to
          give either party an opportunity to request any new Tribunal consti-
          tuted pursuant to Article 52(6) of the Convention to grant a stay pur-
          suant to Rule 55(3).
               (4) A request pursuant to paragraph (1), (2) (second sentence) or
          (3) shall specify the circumstances that require the stay or its modifica-
          tion or termination. A request shall only be granted after the Tribunal
          or Committee has given each party an opportunity of presenting its
          observations.
               (5) The Secretary-General shall promptly notify both parties of the
          stay of enforcement of any award and of the modification or termina-
          tion of such a stay, which shall become effective on the date on which
          he dispatches such notification.

                                       Rule 55
                               Resubmission of Dispute
                                 after an Annulment
              (1) If a Committee annuls part or all of an award, either party may
          request the resubmission of the dispute to a new Tribunal. Such a
          request shall be addressed in writing to the Secretary-General and shall:
                  (a) identify the award to which it relates;
                  (b) indicate the date of the request;
                  (c) explain in detail what aspect of the dispute is to be submit-
                       ted to the Tribunal; and
                                                                                       Arbitration Rules




                  (d) be accompanied by a fee for lodging the request.
              (2) Upon receipt of the request and of the lodging fee, the Secre-
          tary-General shall forthwith:
                  (a) register it in the Arbitration Register;
                  (b) notify both parties of the registration;
                  (c) transmit to the other party a copy of the request and of any
                       accompanying documentation; and
                  (d) invite the parties to proceed, as soon as possible, to consti-
                       tute a new Tribunal, including the same number of arbi-

                                                                                127
Case 1:17-cv-02559-KBJ-DAR Document 25-2 Filed 05/16/19 Page 129 of 129
                                    trators, and appointed by the same method, as the original
                                    one.
                           (3) If the original award had only been annulled in part, the new
                       Tribunal shall not reconsider any portion of the award not so annulled.
                       It may, however, in accordance with the procedures set forth in Rule 54,
                       stay or continue to stay the enforcement of the unannulled portion of
                       the award until the date its own award is rendered.
                           (4) Except as otherwise provided in paragraphs (1)–(3), these
                       Rules shall apply to a proceeding on a resubmitted dispute in the same
                       manner as if such dispute had been submitted pursuant to the Institu-
                       tion Rules.


                                                Chapter VIII
                                              General Provisions
                                                     Rule 56
                                                 Final Provisions
                           (1) The texts of these Rules in each official language of the Centre
                       shall be equally authentic.
                           (2) These Rules may be cited as the “Arbitration Rules” of the
                       Centre.
   Arbitration Rules




                       128
